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       2                                        POSTED ON WEBSITE
                                               NOT FOR PUBLICATION
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                                     UNITED STATES BANKRUPTCY COURT
       5
                                      EASTERN DISTRICT OF CALIFORNIA
       6
       7
       8
       9
           In re                                         )   Case No. 20-20175-E-11
      10                                                 )   Docket Control No. UST-1
           HERBERT EDWARD MILLER,                        )
      11                                                 )
                                  Debtor.                )
      12                                                 )
      13
           This Memorandum Decision is not appropriate for publication.
      14   It may be cited for persuasive value on the matters addressed.
      15
                                MEMORANDUM OPINION AND DECISION
      16                    GRANTING MOTION TO DISMISS CHAPTER 11 CASE
      17           Herbert Miller, the Debtor and serving as the Debtor in Possession (“Debtor Herbert Miller”),
      18   commenced this voluntary Chapter 11 case on January 13, 2020 (“2020 Case”), and has served as
      19   the debtor in possession since the commencement of this bankruptcy case. This is not the Debtor
      20   Herbert Miller’s first or second recent bankruptcy case, he having filed and had dismissed three prior
      21   cases since March 6, 2013. Debtor Herbert Miller has a fourth prior case, a Chapter 7 case that he
      22   filed September 4, 2009 (“2009 Case”), in which he was granted a discharge. That case was
      23   reopened in 2015 for the Chapter 7 Trustee to administer an undisclosed pre-petition judgment and
      24   judgment lien of the Debtor Herbert Miller that was property of the Chapter 7 bankruptcy estate. The
      25   court discusses Debtor Herbert Miller’s personal cases below.
      26           On July 28, 2020, the United States Trustee, Tracy Hope Davis (“U.S. Trustee”), filed this
      27   Motion seeking dismissal of the Chapter 11 case pursuant to 11 U.S.C. § 1112(b)(1) and the
      28   imposition of a one-year bar against filing a new case pursuant to 11 U.S.C. § 349(a). Motion,
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       1   Dckt. 108.1 The court summarizes the Motion to Dismiss as follows.
       2           The U.S. Trustee asserts that the Debtor Herbert Miller has used multiple bankruptcy filings
       3   in an effort to stave off foreclosures on properties by creditors. The U.S. Trustee goes all the way
       4   back to 2009 and identifies twelve different bankruptcy cases that either Debtor Herbert Miller filed
       5   (or was identified on the pleadings as filing) or that were filed for an entity related to Debtor Herbert
       6   Miller. Of the twelve, ten of those cases were dismissed with no bankruptcy plan having been
       7   confirmed. The properties that are the subject of this 2020 Case are not indicated in the related entity
       8   cases, but are included in Debtor Herbert Miller’s three prior personal bankruptcy cases.
       9
                             REVIEW OF PRIOR BANKRUPTCY CASES
      10                       FILED BY DEBTOR HERBERT MILLER
                                             AND
      11           CASES ASSERTED TO BE RELATED TO DEBTOR HERBERT MILLER
      12           The court now reviews the twelve bankruptcy cases identified by the U.S. Trustee and
      13   reviews what appears from the dockets in those cases. First, the court summarizes the bankruptcy
      14   cases filed by Debtor Herbert Miller himself.
      15   Debtor Herbert Miller
           Prior Cases
      16
                   A.      Herbert Miller - Chapter 7 Case 09-39991, E.D. Cal. Bankruptcy (2009 Case)
      17
                           1.      Case Filed.................September 17, 2009
      18
                                   a.      Debtor Herbert Miller represented by Gregory Flahive, Esq.
      19
                           2.      Discharge Entered...........................March 10, 2010
      20
                           3.      Schedule A; 09-39991, Dckt. 30; lists the following real property owned by
      21                           Debtor as of the commencement of the 2009 bankruptcy case:
      22                           a.      305 Hilton Drive, Applegate, CA (listed as an asset in the 2020 Case
                                           now before the court)
      23
                                   b.      19696 Shasta Street Lakehead, CA
      24
                                   c.      11356 Alta Mesa E. Road, Wilton, CA (listed as an asset in the 2020
      25                                   Case now before the court)
      26
                   1
                    This Motion was filed and set for hearing as provided in Local Bankruptcy Rule
      27
           9014-1(f)(1), with thirty-seven days notice provided. Sufficient Notice was provided. The final
      28   hearing on the Motion was conducted on October 15, 2020.

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       1          Debtor’s Chapter 7 case would appear to have been an uneventful proceeding, but for a pre-
       2   petition judgment that was secured by a pre-petition judgment lien (recorded in the amount of
       3   $43,479.00) that Debtor Herbert Miller had obtained but failed to disclose on his Chapter 7
       4   bankruptcy schedules.
       5          The Chapter 7 Trustee reopened Debtor’s 2009 Chapter 7 case in 2015 to administer the
       6   undisclosed asset.2
       7          B.      Herbert Miller - Chapter 11 Case 13-23040, E.D. Cal. Bankruptcy (“2013
                          Case”)
       8
                          1.       Case Filed.....................March 6, 2013
       9
                                   a.      Debtor in the 2013 Case represented by Gilbert E. Maines, Esq.
      10
                          2.       Case Dismissed.....................................December 2, 2015
      11
                                   a.      The case was dismissed based on a Motion filed by JPMorgan Chase
      12                                   Bank, N.A. and CitiMortgage, Inc. 13-23040; Motion, Dckt. 135.
                                           The court’s Order dismissing the case imposed the 11 U.S.C.
      13                                   § 109(g) 180 day bar on filing another case. Id.; Order, Dckt. 148.
      14
                          3.       Amended Schedule A; Id., Dckt. 26; lists the following real property owned
      15                           by Debtor as of the commencement of the 2013 case:
      16                           a.      305 Hilton Drive, Applegate, CA (listed as an asset in the 2020 Case
                                           now before the court)
      17
                                   b.      11356 Alta Mesa E. Road, Wilton, CA (listed as an asset in the 2020
      18                                   Case now before the court)
      19
                          4.       Schedule I filed by Debtor states that his income as of the March 19, 2019
      20                           filing of the Chapter 11 case consisted of:
      21                           a.      $3,000.00 a month net income from property and $3,500.00 wages as
                                           the manager of Sharif Jewelers. Id.; Dckt. 1 at 24.
      22
                          5.       The Statement of Financial Affairs filed by Debtor states:
      23
      24
                  2
      25            No opposition was filed to the Chapter 7 Trustee’s 2016 Motion to approve the
           settlement with the state court judgment debtors on the pre-petition judgment that was property
      26   of the Chapter 7 estate. In administering that asset, the Chapter 7 Trustee recovered $25,373.11
           for the Chapter 7 bankruptcy estate. This was seventy-one percent (71%) of the total net
      27
           proceeds from the sale of the property encumbered by the judgment lien that was property of the
      28   bankruptcy estate. Id.; Motion and Order, Dckts. 69, 76.

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       1                    a.      $8,000.00 gross income in 2013,
       2                    b.      $24,000.00 income in 2012, and
       3                    c.      $32,500.00 in 2011. Id. at 28.
       4              6.    Debtor filed a Motion to Vacate the dismissal of the 2013 Case. The court
                            denied the requested relief, making detailed findings. Id.; Civil Minutes,
       5                    Dckt. 169.
       6         C.   Herbert Miller - Chapter 13 Case 18-26373, E.D. Cal. Bankruptcy (“2018
                      Case”)
       7
                      1.    Case Filed........................October 9, 2018
       8
                            a.      Debtor in the 2018 Case filed the Chapter 13 case in pro se.
       9
                      2.    Case Dismissed....................................November 7, 2018
      10
                            a.      Case was dismissed due to Debtor failing to timely file the required
      11                            documents of a debtor on the commencement of a bankruptcy case
                                    (the time having been extended by the court). 18-26373; Order
      12                            Dismissing, Dckt. 23.
      13              3.    Schedule A; Id., Dckt. 13; lists the following real property owned by Debtor
                            as of the commencement of the 2013 case:
      14
                            a.      11155 Shadow Ct, Auburn, CA (listed as an asset in the 2020 Case
      15                            now before the court)
      16                    b.      18414 North East 391st Street, Amboy, WA
      17              4.    Amended Schedule I filed by Debtor states that his income as of the
                            March 19, 2019 filing of the Chapter 11 case consisted of:
      18
                            a.      $1,500.00 a month net income from operation of his business and
      19                            property. Id.; Dckt. 56 at 30-31.
      20              5.    The Amended Statement of Financial Affairs filed by Debtor states:
      21                    a.      $4,500.00 income in 2018,
      22                    b.      $17,500.00 income in 2017, and
      23                    c.      $17,500.00 in 2016. Id., Dckt. 58 at 2.
      24              6.    Motion to Vacate Dismissal and Motion to Convert Case
      25                    a.      On January 9, 2020, Judson Henry, Esq. (Debtor’s attorney in the
                                    2020 Case) appeared in the 2018 Case for Debtor, filing a Motion to
      26                            Vacate the Dismissal. Id; Motion, Dckt. 30.
      27                            (1)      The court denied the Motion to Vacate the Dismissal. Id.;
                                             Civil Minutes, Dckt. 59.
      28
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       1                         b.       On February 28, 2020, Judson Henry, Esq. filed a Motion to Convert
                                          the case from one under Chapter 13 to Chapter 11. Id.; Motion,
       2                                  Dckt. 47. Debtor sought the conversion rather than commencing a
                                          new case, having subsequently (presumably with the assistance of
       3                                  counsel) recognized that Debtor Herbert Miller’s debts exceeded the
                                          limits imposed by 11 U.S.C. § 109(e).
       4
                                          (1)      The court denied the Motion to Convert the case, making
       5                                           detailed findings in the Civil Minutes. Id., Dckt. 60.
       6          D.     Herbert Miller - Chapter 11 Case 19-23392, E.D. Cal Bankruptcy (“2019 Case”)
       7                 1.      Filed...................May 29, 2019
       8                         a.       Debtor in the 2019 Case represented by Allen Hassan, Esq.
       9                 2.      Dismissed.................................July 15, 2019
      10                         a.       The case was dismissed pursuant to an Order to Show Cause due to
                                          Debtor’s failure to pay the $1,717.00 filing fee. 19-23392; OSC,
      11                                  Order, Dckts. 20, 35.
      12                 3.      Amended Schedule A; Id., Dckt. 26; lists the following real property owned
                                 by Debtor as of the commencement of the 2019 case:
      13
                                 a.       3252 Rayall Court, Loomis, CA
      14
                                 b.       18414 NE 391st Street, Amboy, WA
      15
      16                 4.      Schedule I filed by Debtor states that his income as of the May 29, 2019
                                 filing of the Chapter 11 case consisted of:
      17
                                 a.       $1,500.00 a month net income from operation of his business and
      18                                  property. Id.; Dckt. 21.
      19                 5.      The Statement of Financial Affairs filed by Debtor states:
      20                         a.       There was no income for Debtor in the first five months of 2019 (the
                                          fields left blank),
      21
                                 b.       $4,500.00 income in 2018, and
      22
                                 c.       $17,500.00 income in 2017. Id.; Dckt. 21 at 39.
      23
      24          The U.S. Trustee then directs the court to eight other bankruptcy cases which are stated to
      25   be related to Debtor Herbert Miller. At oral argument, Counsel for Debtor Herbert Miller asserted
      26   that for some of these, they were filed by others in the business and not something that Debtor
      27   Herbert Miller was aware of.
      28   ///

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       1   Cases Asserted to Being
           Related to Debtor Herbert Miller
       2
                 E.     Moreno Real Estate, LLC, Chapter 11 Case No. 19-27515, E.D. Cal. Bankruptcy
       3
                        1.     Filed..............................December 5, 2019
       4
                               a.       Filed “In Pro Se”
       5
                               b.       Petition signed by Keith Wenger, as “Agent for Service of Process.”
       6
                        2.     Dismissed..............................December 31, 2019
       7
                               a.       Dismissed for failure to file documents. 19-27515; Order, Dckt. 26.
       8
                        3.     Debtor states having an 80% ownership interest of Moreno Estates, LLC on
       9                       Amended Schedule A/B in the current bankruptcy case. Dckt. 79 at 20. No
                               interest in this entity was disclosed on the original Schedules filed by Debtor
      10                       in this case (Dckt. 22) or in his prior cases.
      11                4.     The address for Acres Imperial, LLC is stated to be 203 Gunston Court,
                               El Dorado Hills, California.
      12
                                      The Gunston Court address is not included in any of Debtor Herbert
      13                       Miller bankruptcy cases. However, in the Amended Schedule A/B and the
                               Amended Statement of Financial Affairs in the 2019 Case, Debtor Herbert
      14                       Miller disclosed an 80% ownership of an entity named 203 Gunston, LLC.
                               19-23392; Amended Schedule A/B, Dckt. 21 at 7.
      15
                 F.     Acres Imperial, LLC, Chapter 11 Case No. 19-27917, E.D. Cal. Bankruptcy
      16
                        1.     Filed..............................December 12, 2019
      17
                               a.       Filed “In Pro Se”
      18
                                        (1)      The Petition is signed by Herb E. Reichle, as “Authorized
      19                                         Agent for Acres Imperial.”
      20                2.     Dismissed....................................January 14, 2020
      21                       a.       Dismissed for failure to file documents. 19-27917; Order, Dckt. 19.
      22                3.     The address for Acres Imperial, LLC is stated to be 203 Gunston Court,
                               El Dorado Hills, California.
      23
                        4.     Debtor states having an 80% ownership interest of Acres Imperial, LLC on
      24                       Schedule A/B filed in the current case (Dckt. 22).
      25         G.     Acres Imperial, LLC, Chapter 11 Case No. 20-20661, E.D. Cal. Bankruptcy
      26                1.     Filed..............................February 6, 2020
      27                       a.       Filed “In Pro Se”
      28                                (1)      Petition signed by Herb E. Reichle, as “Authorized Agent for

                                                              6
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       1                                           Acres Imperial.”
       2                  2.     Dismissed....................................February 20, 2020
       3                         a.       Dismissed for failure to file documents. 20-20661; Order, Dckt. 17.
       4                  3.     The address for Acres Imperial, LLC is stated to be 203 Gunston Court,
                                 El Dorado Hills, California.
       5
                          4.     Debtor states having an 80% ownership interest of Acres Imperial, LLC on
       6                         Schedule A/B filed in the current case (Dckt. 22).
       7          H.      Abacus Investment Group, Inc., Chapter 11 Case No. 17-05422 M.D. Fla.
                          Bankruptcy
       8
                          1.     Filed............................June 22, 2017
       9
                                 a.       Represented by Joel S Treuhaft, Esq.
      10
                                 b.       Principal Place of Business stated to be 1115 Shadow Court, Auburn,
      11                                  California. M.D. Fla. 17-05422; Petition, Dckt. 1 at 1.
      12                                  (1)      The 1115 Shadow Court address is Debtor Herbert Miller’s
                                                   stated residence in the case now before this court.
      13
                                 c.       The signature on the Petition is the typed name “Herb Miller.”
      14
                                 d.       Debtor Herbert Miller states having an 80% ownership interest of
      15                                  Acres Imperial, LLC on Original and Amended Schedule A/B filed
                                          in the current case (Dckts. 22, 79).
      16
                  I.      Abacus Investment Group, Inc., Chapter 11 Case No. 17-27936 E.D. Cal
      17                  Bankruptcy
      18                  1.     Filed............................December 5, 2017
      19                         a.       Represented by Stanley Berman, Esq.
      20                         b.       Principal Place of Business stated to be 1115 Shadow Court, Auburn,
                                          California (which is Debtor Herbert Miller’s stated residence).
      21                                  17-27936; Petition, Dckt. 1 at 1.
      22                         c.       The signature on the Petition is the typed name “Herbert E. Miller,”
                                          as the CEO.3
      23
                          2.     Debtor states having a 70% ownership interest of Abacus Investment Group,
      24                         Inc. on Original and Amended Schedule A/B filed in the current case
      25
                  3
                     Though not presented in connection with the present Motion, if it is disputed that the
      26
           “Herbert E. Miller” signing the Petition in the Abacus Eastern District of California case, given
      27   that attorney Stanley Berman is located in the Eastern District of California, the U.S. Trustee
           confirming the identity of the person alleged to have falsely signed the multiple bankruptcy
      28   pleadings should be relatively easy.

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       1                    (Dckts. 22, 79).
       2              3.    With respect to Debtor Herbert Miller in this case having notice of the
                            California bankruptcy case for Abacus Investment Group, Inc., various
       3                    documents were served on Abacus Investment Group, Inc, 1115 Shadow
                            Court, Auburn, California (the residence of Debtor Herbert Miller in the case
       4                    now before this court) by the Bankruptcy Noticing Center or the U.S. Trustee.
                            See, for example, Id., Dckts. 7, 8, 16, 18, 27, 29, 43, 47.
       5
                      4.    Dismissed.....................................December 26, 2017
       6
                            a.      The case was dismissed due to the failure to file documents. Id;
       7                            Order, Dckt. 17.
       8         J.   Abacus Investment Group, Inc., Chapter 11 Case No. 17-10224 M.D. Fla.
                      Bankruptcy
       9
                      1.    Filed............................December 9, 2017
      10
                            a.      Represented by Joel S Treuhaft, Esq.; Peter B. Berkman, Esq.
      11
                            b.      Principal Place of Business stated to be 1115 Shadow Court, Auburn,
      12                            California (which is Debtor Herbert Miller’s stated residence). M.D.
                                    Fla. 17-10224; Petition, Dckt. 1 at 1.
      13
                            c.      The signature on the Petition is the typed name “Donna Steenkamp,”
      14                            as the Chief Financial Officer.
      15
                      2.    Debtor Herbert Miller states having an 80% ownership interest of Acres
      16                    Imperial, LLC on Original and Amended Schedule A/B filed in the current
                            case (Dckts. 22, 79).
      17
                      3.    On the Statement of Financial Affairs, the identities of the officers, directors,
      18                    and controlling shareholders of Abacus Investment Group, Inc. are not
                            disclosed. Id. at 29.
      19
                      4.    On the Amended Statement of Financial Affairs, the officers are disclosed,
      20                    with the following persons identified:
      21                    a.      Herb Miller, 1115 Shadow Court, Auburn, California (Residence of
                                    Debtor Herbert Miller in the case now before this court); 100%
      22                            ownership of stock, and Chief Executive Officer.
      23                    b.      Cameron Miller, 11155 Shadow Court, Auburn, California; Secretary.
                                    (A Cameron Miller, identified as Debtor Herbert Miller’s son, has
      24                            appeared in the case now before this court.)
      25                    c.      Donna Steenkamp, CFO. Id., Dckt. 30 at 4.
      26              5.    With respect to Debtor Herbert Miller in this case having notice of the
                            Florida bankruptcy case for Abacus Investment Group, Inc., various
      27                    documents were served on Abacus Investment Group, Inc, 1115 Shadow
                            Court, Auburn, California (the residence of Debtor Herbert Miller in the case
      28                    now before this court) by the Bankruptcy Noticing Center or the U.S. Trustee.

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       1                    See, for example, Id., Dckts. 9, 10, 11, 12, 14, 27, 46, 105, 124, 125, 126,
                            142, 150, 154, 157, 161, 162, 167, 191.
       2
                      6.    Converted to Chapter 7.....................................January 24, 2019
       3
                 K.   Hillside Holdings, Inc., Chapter 11 Case 18-20298, E.D. Cal. Bankruptcy
       4
                      1.    Filed........................January 19, 2018
       5
                            a.       Filed “In Pro Se”
       6
                            b.       Principal Place of Business stated to be 1115 Shadow Court, Auburn,
       7                             California (which is Debtor Herbert Miller’s stated residence). 18-
                                     20298; Petition, Dckt. 1 at 1.
       8
                            c.       The signature on the Petition is a handwritten “Herb Miller,” “Pro
       9                             Se.”
      10              2.    Debtor Herbert Miller does not state having any interest on his Schedules
                            filed in the current case in an entity known as Hillside Holdings, Inc. (Dckts.
      11                    22, 79).
      12              3.    Dismissed................................................January 31, 2018
      13                    a.       The court issued an Order to Show Cause why the case should not be
                                     dismissed due to the corporate debtor not being legally able to file a
      14                             bankruptcy in pro se, and issued an order dismissing the case
                                     pursuant thereto. Id.; OSC and Order, Dckts. 7, 18.
      15
                            b.       Dismissal as a bad faith filing. The court’s ruling on the Motion to
      16                             Dismiss is stated in an audio recording that is included on the Docket.
                                     No transcript of the hearing has been prepared. Id; Dckt. 16. On the
      17                             recording a person appears and engages in a discussion with the
                                     judge:
      18
                                     (1)       The person identifies himself as “Herb Miller.”
      19
                                     (2)       “Herb Miller” advises the court that a law firm has been
      20                                       engaged but no attorney has been assigned to that debtor.
      21                             (3)       “Herb Miller” advises the court that there is one creditor, and
                                               the sole asset listed on the schedules was owned by two
      22                                       elderly persons, the property was transferred into Hillside
                                               Holdings, Inc., and the two elderly people remain in
      23                                       possession of the property.
      24                             (4)       “Herb Miller” is heard to say that the argument is that “they”
                                               dispute that Wells Fargo has any interest in the property that
      25                                       has been transferred into Hillside Holdings, Inc.
      26                             (5)       The bankruptcy judge expressly states that he does not find
                                               the bankruptcy case filed for Hillside Holding, Inc. to have
      27
      28

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       1                                             been filed in good faith.4,       ENDNOTE 1.


       2                  4.      With respect to Debtor Herbert Miller in this case having notice of the
                                  bankruptcy case for Hillside Holding, Inc., various documents were served
       3                          on Hillside Holdings, Inc., 1115 Shadow Court, Auburn, California (the
                                  residence of Debtor Herbert Miller in the case now before this court) by the
       4                          Bankruptcy Noticing Center or the Court. See, for example, Id., Dckts. 8, 9,
                                  13, 19, 20, 21.
       5
                  L.      M.D. & A. Holding Company, Inc., Chapter 11 Case 18-13264, D. Nev.
       6                  Bankruptcy
       7                  1.      Filed........................June 4, 2018
       8                          a.       Represented by Rena M. McDonald, Esq.
       9                          b.       Principal Place of Business stated to be 1115 Shadow Court, Auburn,
                                           California (which is Debtor Herbert Miller’s stated residence). Nev.
      10                                   18-13264; Petition, Dckt. 1 at 1.
      11                          c.       The signature on the Petition is a typewritten “Herb H.E. Miller.”
      12                          d.       A Board Resolution for the filing of the bankruptcy case. It is signed
                                           by a “Jon Lee as Power of Attorney for Herb E. Miller, Chief
      13                                   Executive Officer of M.D. & A. Holding Company.” Id.; Dckt. 15.
      14                  2.      Debtor Herbert Miller does not state having any interest in M.D. & A.
                                  Holding Company, Inc. on his Schedules filed in the current case (Dckts. 22,
      15                          79).
      16                  3.      Dismissed........................................................October 11, 2018
      17
                  4
      18            In his Declaration, Debtor Herbert Miller testifies that with respect to the Hillside
           Holdings, Inc. bankruptcy case, “he may have” (apparently filed the Hillside bankruptcy case).
      19   Declaration, ¶6, p. 2:25; Dckt. 127. Debtor Herbert Miller states that, as he recalls, the Hillside
           Holdings, Inc. bankruptcy case would have been filed to reorganize a condominium project in
      20
           Las Vegas, Nevada. Id. He believes that the case filed in California would have been quickly
      21   dismissed and the case refiled in Nevada. Id.

      22           In End Note 1 to this Decision, the court reviews information from its files, PACER
           information from the District of Nevada that no bankruptcy case was filed for such entity in that
      23
           District, and information about “Hillside Holdings, Inc.” from the California Secretary of State
      24   website. This information about Hillside Holdings, Inc. from the Secretary of State website has
           not been introduced as evidence for this matter and is not used by the court in rendering this
      25   decision.
      26
                  However, it is information that the U.S. Trustee or Department of Justice may want to
      27   review in light of Debtor Herbert Miller stating that bankruptcy cases are being filed using his
           name without his knowledge or authorization, and it may be that the name “Hillside Holdings,
      28   Inc.” was used to file a bankruptcy case for an entity that does not exist.

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       1                           a.      The court issued the order dismissing the case pursuant to a Motion
                                           to Dismiss filed by M.D. & A. Holding Company, Inc., the
       2                                   bankruptcy debtor in the Nevada case. Id.; Motion, Order, Dckts. 17,
                                           21.
       3
                           4.      With respect to Debtor Herbert Miller in this case having notice of the
       4                           bankruptcy case for M.D. & A. Holding Company, Inc. in the Nevada
                                   Bankruptcy Court, various documents were served on M.D. & A. Holding
       5                           Company, Inc., at 1115 Shadow Court, Auburn, California (the residence of
                                   Debtor Herbert Miller in the case now before this court) by the Bankruptcy
       6                           Noticing Center. See, for example, Id., Dckts. 7, 8, 23.
       7           With the exception of listing Debtor Herbert Miller’s residence as the business location for
       8   these various asserted related entities, it appears that the various entities were mostly single asset
       9   entities that did not state having any interest in the properties that Debtor Herbert Miller lists on the
      10   Schedules in this 2020 Case.
      11           Additionally, Debtor Herbert Miller testifies that he was unaware of some of these
      12   bankruptcy cases being filed for entities that he owned or in which he has an interest. Declaration,
      13   Dckt. 127.
      14
                        U.S. TRUSTEE ASSERTION THAT DEBTOR HERBERT MILLER
      15                FAILED TO DISCLOSE ALL HIS ASSETS ON THE SCHEDULES
      16           The U.S. Trustee asserts that Debtor Herbert Miller has not disclosed his interests in Hillside
      17   Holdings, Inc. or M.D. & A. Holding Company Inc. on his Amended Schedules and Statement of
      18   Financial Affairs in this case. The U.S. Trustee challenges Debtor Herbert Miller not stating an
      19   interest in Finley and Diamond, Inc., of which he is listed as an officer and director.
      20           The U.S. Trustee challenges Debtor Herbert Miller’s now listed on Amended Schedule I
      21   (Dckt. 37, filed on May 5, 2020) monthly income of $8,500.00, where Debtor Herbert Miller states
      22   on the Statement of Financial Affairs that his income for the entire 2019 year was only $14,000.00.
      23           The U.S. Trustee states Debtor Herbert Miller failed to accurately disclose income or
      24   expenses, implicating bad faith acting. See In re Cortez, 349 B.R. 608, 614-15 (Bankr. N.D. Cal.
      25   2006). Debtor Herbert Miller stated he owned three real properties on his Amended Schedule A/B.
      26   He also stated on his Amended Schedule J that he pays insurance on these properties. However, at
      27   the Meeting of Creditors, Debtor Herbert Miller admitted that they were each foreclosed in 2018 and
      28   he does not have insurance on the properties.

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       1          The U.S. Trustee argues that at the Meeting of Creditors, Debtor Herbert Miller testified that
       2   the real estate business was premised upon locating distressed properties and attempting to obtain
       3   concessions from the mortgage holders, by challenging the validity of the related deeds of trust and
       4   assignments. Further, that Debtor Herbert Miller “admitted” that Debtor Herbert Miller’s business
       5   entities filed for bankruptcy merely for the purpose of “get[ting] them on their automatic stay for that
       6   the banks would have to prove how they became a creditor or got it and what they paid for it.”
       7          The U.S. Trustee filed the Declaration of Carla K. Cordero, U.S. Trustee’s Bankruptcy
       8   Auditor/Analyst, to provide testimony to properly authenticate the various exhibits presented by the
       9   U.S. Trustee in support of the factual grounds asserted. Declaration, Dckt. 110.
      10          On May 6, 2020, Debtor Herbert Miller filed Amended Schedule A/B in which he disclosed
      11   a number of corporations and limited liability companies in which he had an interest. Most of these
      12   entities had not been disclosed not only on the original schedules filed under penalty of perjury in
      13   this 2020 Case, but in the Schedules filed under penalty of perjury by Debtor Herbert Miller in his
      14   prior bankruptcy cases.
      15          The entities listed on the Amended Schedule A/B filed on May 6, 2020, Dckt. 79, by Debtor
      16   Herbert Miller are the following:
      17
      18                   Entity                     % of            Value       Whether Disclosed Prior to
                                                    Ownership                     2020 Amended Schedules
      19                                                                                 (Dckt. 79)

            Acres Imperial, LLC                         80%         Unknown                   Yes
      20                                                                                 2020 (Dckt. 22)
      21    People’s Choice Home Loans, Inc.            50%             $0                      No
      22    Palo Alto Mortgage Company                  80%             $0                      No

      23    VRAD Investments, LLC                       80%             $0                      No
            S360 Granite Lakes, LLC                     50%             $0                      No
      24
            Advanced Legal Systems, Inc.                50%             $0                      No
      25
            New Century Mortgage Corp.                  80%             $0                      No
      26
            Mount Washington Investments,               80%             $0                      No
      27    LLC
            Rancho Monterey, LLC                        50%             $0                      No
      28

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       1    Weinstein, Talbot & Perry, LLP             50%             $0                     No
       2    WMC Mortgage, LLC                          50%             $0                     No
       3    AC International Corp.                     50%             $0                     No
       4    Baypoint Mortgage, Inc.                    80%             $0                     No

       5    Sterling 16, LLC                           50%             $0                     No
            Ownit Mortgage Solutions, Inc.             80%             $0                     No
       6
            Schmook Ranch, LLC                         50%             $0                     No
       7
            Novastar Mortgage, Inc.                    80%             $0                     No
       8
            Kazi Financial Group, Inc.                 50%             $0                     No
       9    Encore Credit Corporation                  80%             $0                     No
      10    Calibar Investment Group, LLC             100%             $0                     No
      11    Slo Brew Holding Company, LLC              80%             $0                    Yes
                                                                                       (2020, Dckt. 22)
      12
            Moreno Real Estate, LLC                    80%             $0                    Yes
      13                                                                               (2020, Dckt. 22)

            Abacus Investment Group, Inc.              70%             $0                   Yes
      14                                                                         (2019, 19-23392; Dckt. 21)
      15                                                                                    Yes
            Chino - Whistler, LLC                      50%             $0        (2019, 19-23392; Dckt. 21)
      16
            Palisades - Earl, LLC                      20%             $0                   Yes
      17                                                                         (2019, 19-23392; Dckt. 21)

      18
      19          In the proposed Disclosure Statement, Debtor Herbert Miller states that all of his entities are
      20   now “defunct” and have “no prospects for future productive business activity.” Disc. Stmt.,
      21   p. 17:23-26; Dckt. 186.
      22          However, included at the end of the Amended Statement of Financial Affairs, Debtor Herbert
      23   Miller states under penalty of perjury that many of the above businesses continue to exist. Dckt. 79
      24   at 49, 52-57.
      25          Not included on Amended Schedule A/B in the 2020 Case is another entity listed on
      26   Schedule A/B under penalty of perjury in Debtor Herbert Miller’s 2019 case – 203 Gunston, LLC.
      27   19-23392; Dckt. 21. The name of this entity is the same as the number and street name given for
      28   Acres Imperial, LLC entity which Debtor Herbert Miller discloses in his 2020 case schedules.

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       1                         OPPOSITION OF DEBTOR HERBERT MILLER
       2          On August 20, 2020, Debtor Herbert Miller filed an Opposition that is supported by two
       3   Declarations. Dckts. 126, 127, 128. The Opposition begins with the assertion that the U.S. Trustee
       4   states no grounds for which any possible relief could be based. Debtor Herbert Miller then asserts
       5   that all of the law cited by the U.S. Trustee was inapplicable to this Chapter 11 case as they only
       6   relate to Chapter 13 cases. The court summarizes some of the further points made in opposition.
       7          Debtor Herbert Miller asserts that the Motion was not properly served, though Debtor Herbert
       8   Miller has filed an extensive opposition. The Opposition having been filed and the issues throughly
       9   briefed and argued, service is proper. Further, that the U.S. Trustee has not articulated the “legal
      10   standard” by which the court will properly apply the law.
      11          Debtor Herbert Miller then accuses the U.S. Trustee of articulating “a very distorted
      12   narrative of the actual facts,” and further that the U.S. Trustee has engaged in outright falsity.
      13          Debtor Herbert Miller disputes that he is a “serial filer,” has good faith reasons for the cases
      14   filed, and really has had only two cases in the past ten years.
      15          Debtor Herbert Miller asserts that the various alleged “related entity” cases were filed by
      16   other persons, improperly using Debtor Herbert Miller’s name.
      17          With respect to his income, it is argued that COVID-19 causes the inconsistency in dollar
      18   amounts. The “reasonableness” of the expenses challenged by the U.S. Trustee are also asserted to
      19   be “COVID-19” reasonable.
      20          In looking back through the prior four bankruptcy cases, it appears that Debtor Herbert Miller
      21   has had ongoing, multi-year serious income challenges. The actual income information being stated
      22   on the Schedule I and prior two year pre-petition income the Statement of Financial Affairs for the
      23   2020 Case, 2019 Case, 2018 Case, and the 2013 Case reaching back nine years prior to the filing of
      24   the 2020 Case, is:
      25   ///
      26   ///
      27   ///
      28   ///

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       1         Case                       Schedule I Income                    Case Pre-Petition Year to
       2                                                                         Date and two Prior Years
                                                                                      Gross Income
       3     2013 Case     $3,000.00 a month net income from property         $8,000.00 gross income in
             Chapter 11    and                                                2013,
       4
             13-23040      $3,500.00 wages as the manager of Sharif           $24,000.00 income in 2012,
       5                   Jewelers.                                          and
       6                   13-23040; Dckt. 1 at 24.                           $32,500.00 in 2011. Id. at
                                                                              28.
       7
       8
             2018 Case     $1,500.00 a month net income from operation        $4,500.00 income in 2018
       9     Chapter 13    of his business and property.
                                                                              $17,500.00 income in 2017,
      10     18-26373      18-26373; Dckt. 56 at 30-31.                       and

      11                                                                      $17,500.00 in 2016. Id.,
                                                                              Dckt. 58 at 2.
      12
      13     2019 Case     $1,500.00 a month net income from operation        No income for Debtor in the
             Chapter 11    of his business and property.                      first five months of 2019 (the
      14                                                                      fields left blank),
             19-23392      Id.; Dckt. 21.
      15                                                                      $4,500.00 income in 2018,
                                                                              and
      16
                                                                              $17,500.00 income in 2017.
      17                                                                      Id.; Dckt. 21 at 39.
      18
           The 2013, 2018, and 2019 Case information well predate the COVID-19 disruption in the economy
      19
           in the Spring of 2020.
      20
                  With respect to the alleged “bad faith,” Debtor Herbert Miller steps up and asserts that the
      21
           U.S. Trustee is acting in bad faith, making false allegations, and attempting to “manufacture the
      22
           appearance of what would be a serious failure to disclose.”
      23
                  Debtor Herbert Miller provides his Declaration in opposition to the Motion. Dckt. 127. He
      24
           testifies that he did not cause the Moreno Real Estate, LLC case to be filed in the Eastern District
      25
           of California; and did not cause the Acres Imperial, LLC cases filed in the Eastern District of
      26
           California. Debtor Herbert Miller speculates that a now disbarred attorney may be behind the filing
      27
           of the Acres Imperial, LLC cases.
      28
                  He also denies being involved in the M. D. & A. Holding Company, Inc. bankruptcy case,

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       1   noting that the purported typed signature misspells his name (adding an additional middle initial).
       2           Debtor Herbert Miller testifies that at the time of the initial status conference, “I genuinely
       3   believed property insurance had been placed on the three properties involved in my case,” but it was
       4   only later that he learned that such insurance could not be issued based on Debtor Herbert Miller’s
       5   claims of ownership based on his assertions that the foreclosure deeds were void.
       6                                               DISCUSSION
       7           The Bankruptcy Code provision at issue is 11 U.S.C. § 1112(b), which is the statutory
       8   foundation for the court addressing whether a Chapter 11 case should be dismissed or converted.
       9           (b)
                   (1) Except as provided in paragraph (2) and subsection (c), on request of a party in
      10           interest, and after notice and a hearing, the court shall convert a case under this
                   chapter to a case under chapter 7 or dismiss a case under this chapter, whichever is
      11           in the best interests of creditors and the estate, for cause unless the court determines
                   that the appointment under section 1104(a) of a trustee or an examiner is in the best
      12           interests of creditors and the estate.
      13   11 U.S.C. § 1112(b) (emphasis added). Parsing this language, when cause is shown the court shall
      14   (not may or might) convert or dismiss the case, or appoint a Chapter 11 trustee. Further, when the
      15   court finds that cause exists for relief pursuant to 11 U.S.C. § 1112(b) to dismiss, convert, or appoint
      16   a trustee, the court considers the interests of creditors and the estate (which includes a debtor’s right
      17   to surplus moneys after payment of creditor claims).
      18           Congress provides in 11 U.S.C. § 1112(b)(4) a non-exclusive list of examples of what can
      19   constitute cause for purposes of 11 U.S.C. § 1112(b)(1). These items relate to the ability and actual
      20   efforts to prosecute a reorganization under Chapter 11 and comply with the Bankruptcy Code and
      21   orders of the court.
      22           Questions of conversion or dismissal must be dealt with a thorough, two-step analysis:
      23   “[f]irst, it must be determined that there is ‘cause’ to act[;] [s]econd, once a determination of ‘cause’
      24   has been made, a choice must be made between conversion and dismissal based on the ‘best interests
      25   of the creditors and the estate.’” Nelson v. Meyer (In re Nelson), 343 B.R. 671, 675 (B.A.P. 9th Cir.
      26   2006) (citing Ho v. Dowell (In re Ho), 274 B.R. 867, 877 (B.A.P. 9th Cir. 2002)).
      27           Debtor Herbert Miller asserts that the U.S. Trustee’s citation of cases, including the Ninth
      28   Circuit Court of Appeal Decision in In re Leavitt, 171 F.3d 12119, 1224 (9th Cir. 1999), cannot be

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       1   considered on the issue of “bad faith” because they are considering bad faith in a Chapter 13 case.
       2   Thus, Debtor Herbert Miller contends that the Motion to Dismiss must fail for the failure to provide
       3   the court with applicable legal authority.
       4          The court disagrees. While not a binding decision on a discrete point of law, decisions of
       5   the Ninth Circuit on bad faith are relevant in considering the law. There is not a “bad faith, you can
       6   get away with in Chapter 11,” indulgence granted Chapter 11 debtors, individually and serving as
       7   debtors in possession with fiduciary duties (exercising the powers and having the obligations of a
       8   bankruptcy trustee in administering property of the estate).5 The court addresses these issues in the
       9   context of a Chapter 11 case below.
      10   Opposition Based On Court Having
           Determined Good Faith in Extending the
      11   Automatic Stay as to Debtor Herbert Miller Personally
      12          Before proceeding, the court addresses Debtor Herbert Miller’s contention that his prior
      13   bankruptcy filings and the asserted related cases have already been addressed by this court and
      14   cannot properly be considered now. Opposition, p. 6:1-10; Dckt. 126. Such is not the case, with
      15   Debtor Herbert Miller overstating what was presented to the court and the scope of a ruling to extend
      16   the automatic stay as to a debtor personally as provided in 11 U.S.C. § 362(c)(3)(B).
      17          As the court addressed in its ruling on the Motion to Extend the Stay, termination of the
      18   automatic stay pursuant to 11 U.S.C. § 362(c)(3)(A) due to there having been a prior bankruptcy case
      19   pending and dismissed within a year of the 2020 Case is a termination of the automatic stay only as
      20   to the debtor personally, not as to property of the bankruptcy estate. Civil Minutes, p. 2, third full
      21   paragraph; Dckt. 30.
      22          When the case was filed and the Motion to Extend the Stay as to the debtor was filed, Debtor
      23   Herbert Miller was prosecuting this case in pro se. Motion, Dckt. 10. A review of the Motion and
      24
      25          5
                      As discussed in 7 Collier on Bankruptcy ¶1108.04:
      26
                           Chapter 11 trustees and officers and directors of a debtor in possession are
      27                   similarly bound by a duty of care. In a case in which no trustee has been
                           appointed, "the trustee's fiduciary obligations also fall upon the officers
      28
                           and managing employees who conduct the debtor in possession's affairs."

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       1   Debtor Herbert Miller’s Declaration clearly shows that Debtor Herbert Miller blamed the dismissal
       2   of his prior case due to incompetent counsel. Motion, p. 3:4-7, 23-27, Dckt. 10; Declaration, p. 2:3-
       3   18; Dckt. 12. In the Civil Minutes, the court addresses some issues concerning the information in
       4   the Schedules, including the failure to list the Internal Revenue Service as a creditor. Civil Minutes,
       5   p. 4; Dckt. 30.
       6          The only matters presented to the court was that there was a prior case and Debtor Herbert
       7   Miller blamed his former counsel in the one prior case.
       8          In extending the stay as to Debtor Herbert Miller personally (11 U.S.C. § 362(c)(3)(A) not
       9   terminating it as to the bankruptcy estate and all property of the bankruptcy estate), the key factor
      10   in extending the stay was that Debtor Herbert Miller’s current counsel appeared at the hearing and
      11   reported he was substituting in:
      12                At the January 30, 2020 hearing, Debtor in Possession appeared with counsel
                  who was substituting into this case. Some of the above shortcomings were addressed
      13          and Supplemental Schedules I and J shall be filed.
      14                  Debtor has sufficiently demonstrated the case was filed in good faith/rebutted
                  the presumption of bad faith under the facts of this case and the prior case for the
      15          court to extend the automatic stay.
      16   Id. at 5. The court did not determine that Debtor Herbert Miller had filed this case in good faith, was
      17   prosecuting in it good faith, that he could reorganize under Chapter 11 in good faith, or that cause
      18   did not exist to dismiss the case. Rather, merely that the “presumption of bad faith” for purposes of
      19   the automatic stay terminating only as to Debtor Herbert Miller personally due to one prior case
      20   having been dismissed had been sufficiently rebutted.
      21
                          REVIEW OF PROPOSED DISCLOSURE STATEMENT AND
      22                 CHAPTER 11 PLAN FILED BY DEBTOR HERBERT MILLER
      23          The court begins with the proposed Disclosure Statement (Dckt. 186) filed by Debtor Herbert
      24   Miller to provide accurate, truthful, adequate information, so that creditors can make an informed
      25   decision of whether to vote for or against a proposed Chapter 11 Plan.6 11 U.S.C. § 1125. The
      26
      27          6
                     The court makes an extensive review of the proposed Disclosure Statement and Plan
           because the present motion before the court is turning on whether Debtor Herbert Miller has filed
      28
           this case to prosecute a good faith reorganization, or whether the “plan” is to use the bankruptcy

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       1   proposed Disclosure Statement was signed by Debtor Herbert Miller on October 13, 2020. Dckt. 186
       2   at 30. The information included in the proposed Disclosure Statement includes:
       3           Herbert Edward Miller, Debtor-in-Possession, is a self-employed individual who
                   conducts all of his business activities as a sole proprietor. Debtor Herbert Miller
       4           currently has no employees.
       5   Id., p. 7:13-15.7
       6   The proposed Disclosure Statement continues in describing the business and assets that will be
       7   reorganized in Chapter 11:
       8           The nature of Debtor's businesses is and will be twofold, possibly threefold; namely,
                   (1) independent contractual sales of PPE equipment, (2) income/rental property
       9           ownership and management, and (3) [possibly] reentry into the jewelry business (if
                   economic, market, and legal conditions related to the COVID-19 pandemic improve
      10           to make this lucrative.
      11   Id., p. 7:15-18.
      12           The proposed Disclosure Statement discusses that the need to file arises from real estate
      13   investments involving several identified persons. Debtor Herbert Miller then describes various
      14   failures to set up business entities and an intention to acquire financially distressed real estate and
      15   turn an eventual profit. Id., p. 7-8.
      16           Debtor Herbert Miller discusses the legal and financial problems relating to his prior
      17   financially distressed investments, and his decision not to continue with the persons he had
      18   previously entered into business. Id., p. 8. Debtor Herbert Miller then explains that his former
      19   business partners were involved in professional basketball and a well known religious organization.
      20   Id., p. 9. Debtor Herbert Miller then proceeds to state that improper financial actions were taken
      21   by his partners in the distressed real estate investment endeavor, but that there were not any
      22
      23
           stay in lieu of an injunction and gain access to the federal court system to continue the years of
      24   prior and ongoing litigation in state and federal court.
      25           7
                     This statement may be true as of Debtor Herbert Miller’s 2020 Case (assuming that his
      26   many business entities have failed and are out of business), but not historically, as shown by the
           at least 25 corporations, limited liability companies, and limited liability partnerships in which
      27   Debtor Herbert Miller has 50%, 80%, or in one, 100%, ownership interest. In the Disclosure
           Statement Debtor Herbert Miller states that all of his entities are now “defunct” and have “no
      28
           prospects for future productive business activity.” Disc. Stmt., p. 17:23-26; Dckt. 186.

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       1   improper acts by Debtor Herbert Miller. Id.
       2           Debtor Herbert Miller concludes the explanation of his pre-petition finances by stating that
       3   his three real properties were deeded away from him by “wrongful foreclosures.” Id. But he now
       4   will proceed with litigation to address such wrongful foreclosures through the bankruptcy court.8
       5   Identification of Creditors and Claims
       6           In the next section of the proposed Disclosure Statement, Debtor Herbert Miller identifies
       7   the creditors that are going to be subject to the Chapter 11 Plan of Reorganization. These are
       8   identified as:
       9           A.       Class 1a Secured Claim - Collateral 305 Hilton Dr, Applegate, California. Id.,
                            p. 11:20-28, 12:1-18.
      10
                            1.     Creditor with Secured Claim...............Unknown
      11
                            2.     Debtor Herbert Miller disputes that U.S. Bank, N.A. conducted a non-judicial
      12                           foreclosure sale in late 2017 - 2018; but title records reveal that a deed of
                                   trust exists by which U.S. Bank, N.A. purports to have conducted a
      13                           nonjudicial foreclosure sale.
      14                    3.     Debtor Herbert Miller asserts that the deed of trust is void.
      15                    4.     The Class 1a “Unknown Creditor’s” claim will be paid through the plan over
                                   a 360 month period with simple interest of 4.25%.
      16
                   B.       Class 1b Secured Claim - Collateral 11356 Alta Mesa East, Wilton, California. Id.,
      17                    p. 12:19-28, 13:1-10.
      18                    1.     Creditor with Secured Claim................Unknown
      19                    2.     Debtor Herbert Miller disputes that Bayview Loan Servicing, LLC conducted
                                   a non-judicial foreclosure sale in late 2017 - 2018; but title records reveal that
      20                           a deed of trust exists by which Bayview Loan Servicing, LLC purports to
                                   have conducted a nonjudicial foreclosure sale.
      21
                            3.     Debtor Herbert Miller asserts that the deed of trust is void.
      22
                            4.     The Class 1b “Unknown Creditor’s” claim will be paid through the plan over
      23                           a 360 month period with simple interest of 4.25%.
      24           C.       Class 2 Secured Claim - Collateral 11155 Shadow Court, Auburn, California. Id.,
                            p. 13:11-28, 14:1-14.
      25
      26
      27           8
                     Not included in this pre-petition history is a summary of the multiple state and federal
           court actions involving Debtor Herbert Miller (discussed infra) and these properties, or Debtor
      28
           Herbert Miller’s multiple prior bankruptcy cases.

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       1                      1.     Creditor with Secured Claim...................Unknown
       2                      2.     Debtor Herbert Miller disputes that Wilmington Savings Fund, FSB, as
                                     Trustee, conducted a non-judicial foreclosure sale in late 2017 - 2018; but
       3                             title records reveal that a deed of trust exists by which Bayview Loan
                                     Servicing, LLC purports to have conducted a nonjudicial foreclosure sale.
       4
                              3.     Debtor Herbert Miller asserts that the deed of trust is void.
       5
                              4.     The Class 2 “Unknown Creditor’s” claim will be paid through the plan over
       6                             a 360 month period with simple interest of 4.25%.
       7           D.         Class 3a Secured Claim - Collateral 2017 Honda Accord Hybrid. Id., p.14:15-25.
       8                      1.     Creditor With Secured Claim......American Honda Corporation
       9                      2.     Amount of Claim..........................$19,089.98
      10                      3.     Payment of Claim........................Not Stated
      11           E.         Class 3b Secured claim - Collateral 2018 Nissan Pathfinder. Id., p. 14:15-28, 15:1-8.
      12                      1.     Creditor With Secured Claim..........Nissan
      13                      2.     Amount of Claim..........................$30,000.00
      14                      3.     Payment of Claim........................Not Stated
      15           F.         Class 4a Assumed9 Nonpriority General Unsecured Claims. Id., p. 15:9-28, 16:1-2.
      16                      1.     Amount of Assumed Claims..........$3,523,000.00
      17                             a.      This includes the two partners in the distressed real estate investment
                                             venture, with claims for $1,000,000 that Debtor Herbert Miller
      18                                     disputes.
      19                             b.      Payment of Claims..........Not Stated
      20           G.         Class 4b General Nonpriority Unsecured Claims. Id., p. 16:3-23.
      21
      22           9
                    The term "Assumed" for these claims refers to obligation owed to third parties by the
      23   distressed real estate investment venture entities of Debtor Herbert Miller and his business
           partners, but are not obligations for which Debtor Herbert Miller is personally liable.
      24
                   At present, even though all of the agreements between the investors who provided funds
      25
           were with Debtor-controlled entities (not Debtor Herbert Miller in his individual capacity) and
      26   none included any personal guarantee or "co-signing" by Debtor Herbert Miller, the proposed
           Plan has the Debtor- in-possession voluntarily “assuming” these obligations that he has no legal
      27   obligation to pay the obligations.
      28
           Id., p. 9:16-20.

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       1                  1.        Amount of Unsecured Claims........$130,571.16
       2                  2.        Payment of Claims.....................Not Stated
       3          H.      Unclassified Claims
       4                  1.        Internal Revenue Service. Id., p. 16:26-28, 17:1-5.
       5                            a.      11 U.S.C. § 507(a)(8) priority...............$18,037.18
       6                            b.      Payment of Claim.................Not Stated
       7   Property of the Bankruptcy Estate
       8          The Disclosure Statement continues, disclosing the assets of the bankruptcy estate. Id., p. 17-
       9   18. The assets as disclosed on Schedules A/B are stated to have a value of $1,494,540.00. However,
      10   of this, $1,437,000.00 of value is for the real properties for which Debtor Herbert Miller asserts that
      11   other persons are holding void deeds following nonjudicial foreclosures for which he intends to
      12   proceed with further litigation and retake title.
      13          The next most significant asset consists of $12,597.00 cash, all of which is claimed as
      14   exempt.
      15          Debtor Herbert Miller, a single individual, then lists a value of $39,993.00 for two vehicles.
      16   These are the vehicles subject to the secured claims of $49,000.00, so there is no value for the estate
      17   in these two vehicles.
      18          For Debtor Herbert Miller’s 25+ corporations, limited liability company, and limited liability
      19   partnerships now disclosed on Amended Schedule A/B, he confirms that they are all “defunct with
      20   no prospects for future productive business activity.” Id., p. 17:23-25.
      21          The only other assets rolling around in the bankruptcy estate are Debtor Herbert Miller's
      22   household goods and personal effects, which he estimates a private party sale value of $4,950.00.
      23   Litigation Over Alleged Void Foreclosures
      24          Debtor Herbert Miller states that he has commenced, and will commence a third, adversary
      25   proceedings asserting his claims that the alleged deeds from the nonjudicial foreclosures are void.
      26   Id., pp. 18:15-28, 19:1-12.
      27          Debtor Herbert Miller then discusses possible claims for violation of the automatic stay
      28   arising in the current 2020 Case now before the court.

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       1   Summary of Plan of Reorganization
       2           Debtor Herbert Miller provides a narrative summary of the Plan. He states that he intends
       3   to continue his PPE sales and distributions, and rental income property business (which appears to
       4   be for the properties which are the subject of the alleged void foreclosures), as well as reentering the
       5   jewelry market. Id., p. 22:15-18.
       6           For three of the Secured Claims held by “Unknown Creditors,” the unknown creditors will
       7   be bound to their secured claims being reamortized over a 360-month period, with a simple 4.25%
       8   interest, without being allowed to participate in the confirmation process because they are
       9   “unknown.” Id., p. 22:27.
      10           For the two creditors having claims secured by Debtor Herbert Miller’s vehicles, they will
      11   be paid as provided in some future agreement that will be reached by Debtor Herbert Miller, but the
      12   proposed Disclosure Statement does not state any actual payment terms for those claims. Id.,
      13   p. 22:25-27. A review of the Plan discloses that the actual plan treatment is to pay these significantly
      14   undersecured claims more than the amount of the actual secured claim (based upon an 11 U.S.C.
      15   § 506(a) valuation), but the full amount of the obligations pursuant to the terms of the pre-petition
      16   contracts.10
      17           For Debtor Herbert Miller’s priority tax claims, they are to be paid in full in less than five
      18   years under the Plan. Id., p. 23:7-14.
      19           For the General Unsecured Claims, the Disclosure Statement recommends the creditor review
      20   the proposed Plan.
      21
           Review of the Proposed Chapter 11 Plan
      22   General Unsecured Claim Treatment
      23           In Article III, Paragraph 3.4a of the proposed Plan, Debtor Herbert Miller provides for the
      24   payment as general unsecured contractual claims of the various corporations, limited liability
      25   companies, and limited partnership owned by Debtor Herbert Miller. The Plan clearly states that
      26   Debtor Herbert Miller is not contractually bound and is not liable, but that he is “voluntarily taking
      27
      28           10
                        Plan, Article III, ¶ 3.3a Class 3a, and ¶3.3b Class 3, pp. 8-9; Dckt. 185.

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       1   on personal liability for these claims.” Plan, pp. 9:25-27, 10:-2; Dckt. 185 [emphasis added].
       2           Thus, Debtor Herbert Miller makes it clear that the Class 4a Claim “creditors,” are not actual
       3   creditors as defined in 11 U.S.C. § 101(10), but are created “creditors” for purposes of the proposed
       4   Chapter 11 Plan in this case (“Created Creditors”). This creation of creditors is a novel concept.
       5   One questions whether Debtor Herbert Miller and his counsel, can in good faith, manufacture
       6   Created Creditors, outside those Congress defines as creditors who have rights and interests subject
       7   to a bankruptcy plan, to divert monies to and away from creditors to whom Debtor Herbert Miller
       8   is legally liable.
       9           For these bankruptcy plan Created Creditors, Debtor Herbert Miller’s Plan promises them
      10   a dividend equal to 80% of the net revenues, after payment of “total expenses of all types,” without
      11   any limitation on such expenses taken by Debtor Herbert Miller, for sixty (60) monthly installments.
      12   Id., p. 10:8-16. Debtor Herbert Miller’s Plan includes a projection that initially these net revenues
      13   after any and all expenses of every type, will be $1,000.00 at the start of the Plan and increasing to
      14   $4,250.00 in 2022. Id. Over a five-year period (assuming $1,000.00 a month for the first two years
      15   and $4,250.00 a month for the next three years) it appears that Debtor Herbert Miller is advancing
      16   a plan to divert $177,000.00 to these Created Creditors and away from the creditors to which he is
      17   legally obligated.
      18           Then for Class 4b Unsecured Claims, these being creditors who have actual unsecured claims
      19   based on contract, statute, commonly law, judgment or otherwise for which Debtor Herbert Miller
      20   is legally obligated for, there will be only a divided of 50%, with no interest. Id., p. 10:23-25.
      21   Means for Implementing Plan
      22           The Disclosure Statement continues, stating that Debtor Herbert Miller will continue his
      23   present business operations to implement the Plan. Disc. Stmt., p. 27:22; Dckt. 186. Debtor Herbert
      24   Miller has filed pro forma projections (the “Projection”) with the proposed Disclosure Statement,
      25   which are in the form of a Request for Judicial Notice (Dckt. 188).11
      26
      27           11
                     The documents attached to the Request for Judicial Notice are: 1. The Proposed Plan;
           2. Proposed Ballot for Accepting or Rejecting; 3. Pro Forma Projections for 2020-2022; and
      28
           4. September 2020 Monthly Operating Report.

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       1          The Projection, Exhibit 3; Dckt. 188; breaks the financial projections into three separate year
       2   periods - 2020, 2021, and 2022. The court summarizes each of them by projection year below.
       3          2020 Projection
       4          For 2020, Debtor Herbert Miller projects having the following amounts of gross income:
       5                  Commission From Independent Sale ..............................................$62,773.00
                               (This is substantially generated in Sept-Dec)
       6
                          Management/Sales Windsor Diamonds...........................................$17,285.00
       7                       (This is spread out through the year)
       8                  Social Security Income.....................................................................$17,494.00
                                                                                                                      =======
       9                                       Total Gross Income...................................... $97,552.00
      10   To generate the $80,039.00 in income (excluding Social Security) Debtor’s total costs of goods and
      11   services are only ($6,500.00). Of this, ($5,000.00) was spent in January 2020, and only ($1,500.00)
      12   is needed for generating $57,000.00 of income in September through December 2020. Dckt. 188
      13   at 28. There are additional “Misc. business expense” line items, which for the September through
      14   December 2020 period total ($3,742.00), with ($3,424.00) being in the month of September 2020.
      15          Debtor Herbert Miller computes having $91,052.00 in 2020 gross profits. Id.
      16          For his business and personal expenses in 2020, Debtor Herbert Miller projects having
      17   ($58,842.00) in such expenses. Id. Of this, only ($14,308.00) is for business expenses, and
      18   ($28,733.00) is for Debtor Herbert Miller’s “personal expenses.”
      19          In reaching his “net profit,” Debtor Herbert Miller deducts as an “expense” ($10,500.00) of
      20   “adequate protection payments.” As discussed below, these are not payments being made to anyone,
      21   but are monies that Debtor Herbert Miller proposes to set aside in lieu of obtaining an injunction
      22   bond while using the automatic stay rather than obtaining a preliminary injunction in his ongoing
      23   legal battles over the three properties in which he disputes the validity of the foreclosure deeds.
      24          Even deducting the “adequate protection payments” that are not paid to a creditor, Debtor
      25   Herbert Miller reports having $32,209.00 net profit. Id. However, Debtor Herbert Miller states on
      26   the 2020 Projection that no income taxes will be owed by either the bankruptcy estate (there being
      27   no plan that could be confirmed before the end of 2020) or Debtor Herbert Miller, and that there are
      28   no self-employment taxes for his independent sales business. Id.

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       1          2021 Projection
       2          For the 2021 Projection, the finances take off, and Debtor Herbert Miller projects
       3   $171,000.00 in Commissions from Independent Sales and $16,500.00 in Social Security income.
       4   Dckt. 188 at 29. There is no jewelry income, Debtor’s son Cameron Miller testifying that the
       5   business has been closed and the premises vacated. Affidavit, Dckt. 168.
       6          To generate the $171,000.00 in Independent Sales Commission, the costs of the goods and
       7   services relating thereto are projected to be only ($6,000.00). Dckt. 188 at 29. The other
       8   Miscellaneous Business Expenses necessary to generate the $171,000.00 in Independent Sales
       9   Commissions are projected to be only ($1,200.00), estimated at only ($100.00) a month. Id.
      10          Thus, the expenses necessary to generate $171,000.00 in Independent Sales Commissions
      11   are projected by Debtor Herbert Miller to be only ($7,200.00).
      12          Debtor Herbert Miller’s major expenses that he lists as an “Operating Expense” is
      13   ($63,000.00) in “Adequate Protection Payments.” Id. Again, these are “payments” not being made
      14   to anyone, but moneys set aside in lieu of requiring Debtor Herbert Miller obtaining a preliminary
      15   injunction as required by Federal Rule of Civil Procedure 65 and Federal Rule of Bankruptcy
      16   Procedure 7065 in his litigation challenging the alleged to be void deeds from the foreclosure sale.
      17          Debtor Herbert Miller does list projected deductions for paying creditors through the plan,
      18   professional fees, and U.S. Trustee fees, but does not deduct these in computing possible income
      19   taxes. For his total State and Federal income and self-employment taxes, on $107,514.00 in net
      20   income (not deducting the Adequate Protection payments not being paid to anyone), Debtor Herbert
      21   Miller projects only ($14,400.00) in combined taxes.
      22          2022 Projections
      23          For the 2022 Projections, Debtor Herbert Miller shows increased annual gross income
      24   growing to $271,440.00, with the increase built on Debtor Herbert Miller counting on $54,940.00
      25   in gross rental income from two of the properties for which he asserts that the foreclosure deeds are
      26   void. Id. at 30.
      27          Debtor Herbert Miller provides for paying $14,400.00 for income taxes. Id. The court does
      28   not see a line item for Debtor Herbert Miller’s self-employment taxes. Debtor Herbert Miller states

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       1   that the tax projections are based on IRS Schedule C net profit. Possibly he has huge losses from
       2   his prior business ventures that have failed. If so, such does not create a sense of confidence that a
       3   future business venture would be hugely successful.
       4                NONBANKRUPTCY LITIGATION DEBTOR HERBERT MILLER
                               SEEKS TO BRING TO FEDERAL COURT
       5                        THROUGH THIS BANKRUPTCY CASE
       6            There has been a significant amount of discussion in this case concerning Debtor Herbert
       7   Miller’s propensity to commence bankruptcy cases and other proceedings. As discussed above,
       8   Debtor Herbert Miller purports to have been unaware of various bankruptcy cases filed for entities
       9   in which he held a 50% or 80% interest in. Whether he knew they were being filed, his residence
      10   is the address at which the courts, U.S. Trustees, and Bankruptcy Noticing Center mailed notices of
      11   those cases, so it is unlikely that he was unaware that his various corporations or limited liability
      12   companies were being placed in bankruptcy.
      13            Debtor Herbert Miller has made it clear that he is here in bankruptcy today not to reorganize
      14   any existing business, finances, or assets; but to continue in litigation in federal court through the
      15   bankruptcy side door for his assertion that deeds from nonjudicial foreclosure sales in 2017 or 2018
      16   are void.
      17            Through various pleadings in this case and the related Adversary Proceedings, the existence
      18   of various State and Federal Court litigation and outcomes have been brought to the attention of the
      19   court.
      20            Debtor Herbert Miller has argued that to the extent that for any of these State or Federal
      21   actions that have been dismissed with prejudice or judgment entered against Debtor Herbert Miller
      22   with respect to his assertions that the foreclosure deeds are void, the persons he seeks to litigate with
      23   today cannot claim to be in privity with the persons who had the state court action dismissed with
      24   prejudice. The court does not review these other judicial proceedings and outcomes for the merits
      25   or how they would apply to persons that Debtor Herbert Miller seeks to litigate within 2020, but only
      26   to put in context the professed need to reorganize in bankruptcy and the ability of Debtor Herbert
      27   Miller to commence and engage in litigation.
      28            In the Amended Statement of Financial Affairs, Debtor Herbert Miller identifies the

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       1   following actions as ones that he was involved in at the time this case was filed or during the one
       2   year prior:
       3          A.      Hoffler v. Miller et al.; California Superior Court, County of Los Angeles, Action12
                          No. BC720161.
       4
                          1.     Breach of Contract, Settlement Agreement
       5
                          2.     Pending
       6
                  B.      Goldman & Zwillinger PLLC v. Miller and Hyland; Arizona Superior Court,
       7                  Maricopa County, Action No. CV 2018-005181.
       8                  1.     Nature of Case not stated
       9                  2.     Pending
      10          C.      Miller v. Deutsche Bank National Trust Company; Arizona Superior Court, Maricopa
                          County, Action No. CV2017-056018.
      11
                          1.     Supplemental Counter Claim by Trustee of Monaco Ventures Trust
      12
                          2.     Pending
      13
                  D.      Wilmington Savings Fund v. Homes, Miller, et al.; California Superior Court, County
      14                  of Placer, Action No. MCV 00723311.
      15                  1.     Unlawful Detainer and Money Damages
      16                  2.     Pending
      17          E.      Law Offices of Allan R. Frumkin, Inc. v. Miller; California Superior Court, County
                          of Placer, Action No. MCV 0055632.
      18
                          1.     Post-Judgment, Enforcement
      19
                  F.      Apex Resources Partners, LLC and Cherrypick Investments, LLC v. Miller; Florida,
      20                  Hillsborough County, Action No. 2018-CA-8389.
      21                  1.     Breach of Promise/Deal/Transaction.
      22                  2.     Pending
      23   Dckt. 79 at 43, 51.
      24          The prior litigation challenging the foreclosures filed by Debtor Herbert Miller and relating
      25   to the persons holding the deeds from the foreclosures include the following.
      26
      27          12
                     The court uses the word “action” when identifying the non-bankruptcy litigation rather
           than “case” to avoid confusion between the various “bankruptcy cases” and the non-bankruptcy
      28
           lawsuits.

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       1   Miller v. JPMorgan Chase Bank, N.A. et al.
       2          In the Adversary Proceeding Miller v. JPMorgan Chase Bank, N.A. et al, 20-2115,
       3   information about other litigation involving Debtor Herbert Miller has been presented to the court.
       4          The first is a Superior Court Action, Miller v. JPMorgan Chase Bank, N.A., et al., California
       5   Superior Court Action No. SCV 003 0341. A copy of an Order sustaining Defendants’ Demurrer
       6   to Debtor Herbert Miller’s First Amended Complaint is sustained without leave to amend. 20-2115;
       7   Exhibit G, Dckt. 42 at 122.
       8          Exhibit H is a copy of a Judgment of Dismissal, with a filed date stamp of December 3, 2012.
       9   The Judgment for Dismissal states that Debtor Herbert Miller’s Action was dismissed with prejudice
      10   as to JPMorgan Chase Bank, N.A. and California Reconveyance Company. Id. at 132.
      11   Miller v. JPMorgan Chase bank, N.A., as Trustee, and MTC Financial, Inc.
      12          The second is a Complaint filed in the California Superior Court, County of Placer, or Miller
      13   v. JPMorgan Chase Bank, N.A., as Trustee, and MTC Financial, Inc., Action No. SCV 00364517
      14   Id. at 205, Exhibit N.
      15          Exhibit O is a copy of the Docket from the United States District Court for the Eastern
      16   District of California, No. 16-01593. Id. at 301. This was opened upon the removal of the above
      17   State Court Action, Action No. SCV 00364517, to the United States District Court for the Eastern
      18   District of California.
      19          Exhibit Q is the District Court Judge’s order adopting the proposed Findings and Conclusions
      20   of the Magistrate Judge and dismissing the action for failure of Debtor Herbert Miller to prosecute
      21   the action and comply with orders of the court. Id. at 308. The judgment entered on the District
      22   Court Judge’s Order is provided as Exhibit R. Id. at 310.
      23   U.S. Bank, N.A., as Trustee v. Herbert E. Miller et al.
      24          The third is a copy of a Judgment for Unlawful Detainer in U.S. Bank, N.A., as Trustee v.
      25   Herbert E. Miller et al., California Superior Court, County of Placer, Action MCV 0057652. Id.
      26   at 372, Exhibit Y. The filed date for the Judgment is September 23, 2017. It states that U.S. Bank,
      27   N.A., as Trustee for LSF9 Master Participation Trust is entitled to possession of the real property
      28   identified as 305 Hilton Drive, Applegate, California (one of the properties for which Debtor Herbert

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       1   Miller asserts that the foreclosure deed is void).
       2          Exhibit Y is the order of the Superior Court denying Debtor Herbert Miller’s motion to set
       3   aside the judgment for possession. Id. at 377.
       4
                                      CAUSE EXISTS TO DISMISS
       5                      DEBTOR HERBERT MILLER’S CHAPTER 11 CASE
       6          In reviewing the file in this Chapter 11 case, the court had a fundamental question for
       7   Counsel for Debtor Herbert Miller - what is going to be the confirmable Chapter 11 plan of
       8   reorganization in this case? In response, counsel for Debtor Herbert Miller explained that Debtor
       9   Herbert Miller’s ability to generate revenue increased starting in August 2020, and that it would be
      10   reflected in the Monthly Operating Report. Additionally, that the Chapter 11 Plan will include
      11   blocked account adequate protection payments for the parties subject to the automatic stay being
      12   used in the related adversary proceedings in lieu of Debtor Herbert Miller obtaining a preliminary
      13   injunction pursuant to Federal Rule of Civil Procedure 65 and Federal Rule of Bankruptcy Procedure
      14   7056 (and the bond required therefore).
      15          An initial point to address is that the court does not reach its conclusions that cause exists
      16   to dismiss this case because Debtor Herbert Miller is an individual who does not have a business that
      17   he is reorganizing. As cited in the Opposition, the Supreme Court established that there is no per
      18   se ineligibility for filing a Chapter 11 case by an individual who does not have a business.
      19          As is clear from the court’s discussion in the foregoing sections, the court has reservations
      20   concerning Debtor Herbert Miller’s filing of this case and the ability to prosecute it consistent with
      21   the requirements for a Chapter 11 case, plan, and reorganization. Toibb v. Radloff, 501 U.S. 157,
      22   158 (1991). There are a number of individuals with no businesses who over the years have filed
      23   Chapter 11, reorganized their assets/investments, and increased the value of the property of the
      24   bankruptcy estate through the reorganization. But there must be something to be reorganized and
      25   made more valuable through the Chapter 11 case rather than through a Chapter 7 liquidation. Id.,
      26   163, 164. The court’s focus is on whether it appears that Debtor Herbert Miller has something to
      27   reorganize through Chapter 11.
      28          With respect to “cause,” as provided in 11 U.S.C. § 1112(b), Collier on Bankruptcy provides

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       1   a good summary of what is intended for a “reorganization” through Chapter 11. Collier begins by
       2   noting that “it is useful to bear in mind the fundamental purposes and limitations of chapter 11 as
       3   they relate to section 1112(b).” 7 Collier on Bankruptcy, ¶1112.04[5] (16th 2020).
       4          [a] Salvaging Viable Business Enterprises and Maximizing the Creditors’ Return
       5          As the Supreme Court has observed, chapter 11 embraces the “two recognized
                  policies [of] preserving going concerns and maximizing property available to satisfy
       6          creditors.”13 As the House Report states:
       7                    The purpose of a business reorganization case, unlike a liquidation
                            case, is to restructure a business’s finances so that it may continue to
       8                    operate, provide its employees with jobs, pay its creditors, and
                            produce a return for its stockholders. The premise of a business
       9                    reorganization is that assets that are used for production in the
                            industry for which they were designed are more valuable than those
      10                    same assets sold for scrap.
      11          As a general rule, if continuing a particular chapter 11 case would promote the twin
                  goals of preserving viable businesses and maximizing the creditors’ return, then the
      12          case is probably not a candidate for conversion or dismissal under section 1112(b).
                  On the other hand, chapter 11 is not a panacea for every debtor in distress.
      13          Many troubled businesses are simply not viable and most debtors that enter
                  chapter 11 do not succeed in confirming a chapter 11 plan. . ., and in some
      14          instances, the debtor’s assets actually may be put to more valuable use in a different
                  application. In these circumstances, permitting the chapter 11 case to continue may
      15          be counterproductive and conversion or dismissal may be warranted.
      16          [b] Providing for Negotiated Accommodation
      17          In evaluating the purposes of chapter 11 as they relate to section 1112(b), it is also
                  important to bear in mind that Congress designed the reorganization process to
      18          provide a forum for the negotiated resolution of the debtor’s case in a manner that is
                  as accommodating as possible. On the other hand, not every case is capable of
      19          bearing the weight of this ideal. In reality, while the chapter 11 forum provides
                  a medium for negotiation and an opportunity to better accommodate the
      20          interests of a broad range of constituents by potentially preserving the value of
                  the debtor as a going concern, . . .
      21
                  Recognizing the realities and limitations of chapter 11, one circuit court judge has
      22          remarked: “Reorganization is not a Holy Grail to be pursued at any length.”
      23
      24          13
                       Collier Footnote 44 citation to:
      25
                            Bank of America Nat’ l Tr. & Sav. Ass’ n v. 203 N. LaSalle St. P’ ship, 526
      26                    U.S. 434, 435, 119 S. Ct. 1411, 1413, 143 L. Ed. 2d 607 (1999); see G.
                            Eric Brunstad, Jr. & Mike Sigal, Competitive Choice Theory and the
      27                    Broader Implications of the Supreme Court’s Analysis in Bank of America
                            v. 203 North LaSalle Street Partnership, 54 Bus. Law. 1475, 1483 n.26
      28
                            (1999) (discussing the purposes of chapter 11).

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       1          Similarly, the Supreme Court has noted: “The preservation of business enterprises
                  must not be at the expense of creditors.” The Court of Appeals for the Fifth Circuit
       2          has further explained:
       3                   A principal goal of the reorganization provisions of the Bankruptcy
                           Code is to benefit the creditors of the Chapter 11 debtor by
       4                   preserving going-concern values and thereby enhancing the
                           amounts recovered by all creditors … . However, when there is no
       5                   reasonable likelihood that the statutory objective of
                           reorganization can be realized or when the debtor unreasonably
       6                   delays, then the automatic stay and other statutory provisions
                           designed to accomplish the reorganization objective become
       7                   destructive of the legitimate rights and interests of creditors, the
                           intended beneficiaries. In that situation it is incumbent upon the
       8                   bankruptcy judge to effectuate the provisions of the Bankruptcy Code
                           for the protection of creditors lest the judge keep the Code’s word of
       9                   promise to the ear of creditors and break it to their hope. The
                           bankruptcy judge must meet head-on his obligation to decide, fairly
      10                   and impartially, the hard questions.14
      11          Thus, although a request for relief under section 1112(b) may bring to the court a
                  variety of difficult choices that might otherwise be left to the negotiating table, this
      12          is one of the section’s chief virtues. Specifically, it permits the court to evaluate
                  whether the process is worth the effort, or, conversely, whether the process
      13          continues simply because the parties are forced to participate.
      14   7 Collier on Bankruptcy, ¶ 1112.04 [5][a], [b] (16th 2020) [emphasis added].
      15          As noted above, Debtor Herbert Miller takes exception to, and believes it was improper for,
      16   the U.S. Trustee to cite the Ninth Circuit decision In re Leavitt, 171 F.3d 1219 (9th Cir. 1999), on
      17   the issue of cause and good faith because it was in the context of the dismissal or conversion of a
      18   Chapter 13 case, not a Chapter 11 case as now before the court.
      19          Debtor Herbert Miller cites to the court the Ninth Circuit decision in In re Arnold, 806 F.2d
      20   937, 939 (9th Cir. 1986), as providing the court with good starting points (and in Debtor Herbert
      21   Miller’s opinion the ending point) on the consideration of cause and good faith. The first thing that
      22   the court notes with respect to Arnold is that it is not a decision considering “cause” for purposes of
      23   either dismissal or conversion of a Chapter 11 case. Rather, it considered the issue of “cause” and
      24
      25          14
                       Collier Footnote 55:
      26
                           United Sav. Ass’n of Tex. v. Timbers of Inwood Forest Assocs., Ltd. (In re
      27                   Timbers of Inwood Forest Assocs., Ltd.), 808 F.2d 363, 373 (5th Cir.
                           1987) (en banc), aff’d, 484 U.S. 365, 108 S. Ct. 626, 98 L. Ed. 2d 740
      28
                           (1988).

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       1   “good faith” in connection with granting relief from the automatic stay as provided in 11 U.S.C.
       2   § 362(d)(1).
       3          In discussing “cause” as it exists in the world of the automatic stay, the Ninth Circuit Court
       4   of Appeals in Arnold directs:
       5          The debtor's lack of good faith in filing a bankruptcy petition has often been used as
                  cause for removing the automatic stay. See, e.g., In re Kemble, 776 F.2d 802, 807
       6          (9th Cir. 1985) (debtor's dilatory behavior a proper consideration in lifting stay);
                  Matter of Little Creek Development Co., 779 F.2d 1068, 1071 (5th Cir. 1986) (lack
       7          of good faith constitutes "cause" for lifting stay).
       8                  The existence of good faith depends on an amalgam of factors and not
                  upon a specific fact. Matter of Little Creek Development Co., 779 F.2d at 1072. The
       9          bankruptcy court should examine the debtor's financial status, motives, and the
                  local economic environment. Id. Said a Ninth Circuit bankruptcy panel:
      10
                          If it is obvious that a debtor is attempting unreasonably to deter
      11                  and harass creditors in their bona fide efforts to realize upon their
                          securities, good faith does not exist. But if it is apparent that the
      12                  purpose is not to delay or defeat creditors but rather to put an end
                          to long delays, administration expenses . . . to mortgage foreclosures,
      13                  and to invoke the operation of the [bankruptcy law] in the spirit
                          indicated by Congress in the legislation, namely, to attempt to effect
      14                  a speedy efficient reorganization, on a feasible basis . . . good faith
                          cannot be denied.
      15
                  In re Thirtieth Place, Inc., 30 Bankr. 503, 505 (Bankr. App. 9th Cir. 1983) (quoting
      16          In re Loeb Apartments, Inc., 89 F.2d 461, 463 (7th Cir. 1937)).
      17   In re Arnold, 806 F.2d 937, 938, (9th Cir. 1986).
      18          Taking the lead from Debtor Herbert Miller to consider this discussion of good faith and
      19   cause by the Ninth Circuit in connection with the automatic stay, it is clear that there must be a good
      20   faith in filing to pursue a reorganization of a bankruptcy debtor’s assets or business. It is not to be
      21   for the purpose to delay or defeat the rights of others.
      22          In Leavitt, the court considers the concept of “cause” directly in connection with whether a
      23   bankruptcy case should be dismissed in the context of a Chapter 13 case and the non-exclusive
      24   factors listed in 11 U.S.C. § 1307(c)(1) through (10). Consistent with the “amalgam of facts” to
      25   determine if someone is not acting in good faith in Arnold, the court in Leavitt states that in
      26   considering whether there is bad faith:
      27
                  Bad faith, as cause for the dismissal of a Chapter 13 petition with prejudice, involves
      28          the application of the "totality of the circumstances" test. Eisen, 14 F.3d at 470. The

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       1          bankruptcy court should consider the following factors:
       2                  (1) whether the debtor "misrepresented facts in his [petition or] plan,
                          unfairly manipulated the Bankruptcy Code, or otherwise [filed]
       3                  his Chapter 13 [petition or] plan in an inequitable manner," id. (citing
                          In re Goeb, 675 F.2d 1386, 1391 (9th Cir. 1982));
       4
                          (2) "the debtor's history of filings and dismissals," id. (citing In re
       5                  Nash, 765 F.2d 1410, 1415 (9th Cir. 1985));
       6                  (3) whether "the debtor only intended to defeat state court
                          litigation," id. (citing In re Chinichian, 784 F.2d 1440, 1445-46 (9th
       7                  Cir. 1986)); and
       8                  (4) whether egregious behavior is present, Tomlin, 105 F.3d at 937;
                          In re Bradley, 38 B.R. 425, 432 (Bankr. C.D. Cal. 1984).
       9
                          A finding of bad faith does not require fraudulent intent by the
      10                  debtor.
      11                  Neither malice nor actual fraud is required to find a lack of good
                          faith. The bankruptcy judge is not required to have evidence of debtor
      12                  ill will directed at creditors, or that debtor was affirmatively
                          attempting to violate the law - malfeasance is not a prerequisite to
      13                  bad faith.
      14          In re Powers, 135 B.R. 980, 994 (Bankr. C.D. Cal. 1991) (relying on In re Waldron,
                  785 F.2d 936, 941 (8th Cir. 1986)).
      15
      16   Leavitt v. Soto (In re Leavitt), 171 F.3d 1219, 1224-1225 (9th Cir. 1999) [emphasis added].
      17          The court in Leavitt does not offer anything contrary to that in the Arnold decision offered
      18   up by Debtor Herbert Miller, but complements and is consistent with Arnold.
      19          This court begins with there being no business, no financial operation, no assets, and no
      20   organization to restructure. Debtor Herbert Miller’s prior business endeavors are, in his own words,
      21   “defunct.” Other than $12,000.00 of exempt cash, Debtor Herbert Miller has nothing but his
      22   business mind, sense of financial endeavor, and a new business venture he wants to begin.
      23          What Debtor Herbert Miller clearly shows, and argues to, the court is that there are no assets,
      24   business, or finances in the bankruptcy estate to be reorganized. Rather, Debtor Herbert Miller is
      25   bolding going forth on new sole proprietorship business ventures, unencumbered by the prior 25+
      26   corporations, limited liability companies, and limited liability partnerships, and the prior sole
      27   proprietorship ventures that have failed. There are no assets of the estate identified that would be
      28   “reorganized” into some new venture, just Debtor Herbert Miller himself to create something new.

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       1          In reality, what Debtor Herbert Miller presents to the court is that he wants to “organize” a
       2   new, future sole proprietorship business that he is creating. The projections of income from the new
       3   business(es) is not supported by the history of income generated by Debtor Herbert Miller as shown
       4   in the 2013 Case, 2017 Case, 2018 Case, and 2019 Case.
       5          As discussed above in Collier on Bankruptcy and the Supreme Court stated policies of
       6   Chapter 11 to preserve going concern and maximizing property,15 there is nothing to preserve in this
       7   bankruptcy case. Debtor Herbert Miller has clearly stated that he is filing bankruptcy for something
       8   new to be created, not reorganized (as well as using it to try and continue his litigation in federal
       9   court through the bankruptcy side door). The court finds nothing persuasive or credible about how
      10   or why Chapter 11 is the correct tool for Debtor Herbert Miller to create a new business. If he has
      11   creditors and debt weighing him down from the failures of his 25+ prior defunct business ventures,
      12   he can again file a Chapter 7 case, get his discharge, and have his fresh start.
      13   Modification of Rights of Unknown Creditors
      14          Next, Debtor Herbert Miller comes forward with a “plan” to have a Chapter 11 Plan that
      15   modifies the rights and interests of Unknown Creditors and binds them to a 30-year amortization of
      16   discounted loan amounts (discounting it to what Debtor Herbert Miller says is the value in the
      17   vacuum of there being no creditor to counter) and a simple interest rate of 4.25%. Debtor Herbert
      18   Miller offers no legal basis for how he can alter the rights of unidentified people who are purportedly
      19   Unknown Creditors and comply with the minimum requirements of Due Process.
      20          Debtor Herbert Miller also presents the court with another unsurmountable obstacle to
      21   confirmation - the purported modification of a claim secured only by Debtor Herbert Miller’s
      22   residence without the consent of the Unknown Creditor.
      23          Class 3.2 Secured Claim has an “unknown creditor” with a claim secured by the
      24   11155 Shadow Court, Auburn, California Property. Id. That property is Debtor Herbert Miller’s
      25   residence. Petition, Question 6; Dckt. 1; Amended Petition, Question 5; Dckt. 37. The treatment
      26   of this claim is to modify the terms of the loan, have the court determine the amount of the claim,
      27
      28          15
                       7 COLLIER ON BANKRUPTCY, ¶ 1112.04 [5][a], [b] (16th 2020).

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       1   and then repay it over 30 years at 4.25%. Absent the consent of the “unknown creditor,” such
       2   modification is not possible under the Bankruptcy Code and such a plan term could not be confirmed
       3   absent such consent. 11 U.S.C. § 1123(b)(5).
       4   Created Creditors
       5          Another act by Debtor Herbert Miller in the proposed Chapter 11 Plan that raises the
       6   crescendo from not good faith to bad faith is his election to “voluntarily assume” through the Plan
       7   $2,500,000.00 on unsecured claims of Created Creditors that he has no legal obligation to pay. He
       8   is clear in stating that he has no legal obligation and these are obligations existing between those
       9   Created Creditors and others, including some of his 25+ entities that are now defunct.16
      10          While someone outside of bankruptcy can elect to give away his or her money or assets (so
      11   long as they pay their creditors), a debtor in a Chapter 11 plan cannot give away assets to persons
      12   he has no legal obligation to pay, and then leave his actual creditors, to whom he has legal
      13   obligations, left unpaid.
      14          While under the proposed plan Debtor Herbert Miller seeks to give away money to the
      15   assumed $2,500,000.00 in unsecured claims of the Created Creditors, he provides for his Class 4b
      16   general unsecured claims, for which he is legally obligated to pay those creditors, only a 50%
      17   dividend and no interest. This “largess” to give away money to people to whom he has no legal
      18   obligation and to under pay less than half (taking into account no interest) of what he actually is
      19   legally obligated to pay begins moving the needle past mere lack of good faith and into bad faith.
      20          From what Debtor Herbert Miller presents, it appears that he is attempting to manufacture
      21   a plan built upon straw men and women – the Unknown Creditors, who cannot vote or oppose the
      22   modifications to their legal rights and interests as set forth in the Plan. Then, Debtor Herbert Miller
      23
      24          16
                     The conduct of a person who owes debts and is unable to pay his creditors in full
           choosing to give away his assets to others to whom such person has no legal obligation to pay is
      25
           an anathema under both state and federal law. Cal. Civ. §§ 3439 et seq., Cal. Penal § 154, 11
      26   U.S.C. § 548. In the bankruptcy context, not only are such transfers avoided and recovered for
           the benefit of the bankruptcy estate, but when recovered the full amount of the transfers are
      27   preserved for the benefit of creditors and a debtor cannot even claim an otherwise valid
           exemption in the transferred property. 11 U.S.C. § 551, § 522(g); Glass v. Hitt (In re Glass), 60
      28
           F.3d 565, 569-570 (9th Cir. 1995).

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       1   wants to “give” money away to Created Creditors to whom he has no legal obligation and pay less
       2   than what he owes to creditors he acknowledges he has a legal obligation to pay. That is not a
       3   Chapter 11 plan or reorganization in good faith as permitted under the Bankruptcy Code. In
       4   substance, it is a “reorganization” built on ephemeral fraudulent transfers to Created Creditors and
       5   modification of the rights and interests of the Unknown Creditors in absentia and without affording
       6   them their Due Process rights.
       7           Debtor Herbert Miller is an active, experienced litigator. He may not be successful, but he
       8   litigates. He litigates in state court; he litigates in federal court. He litigates in California; he
       9   litigates in Arizona; he litigates in Florida.
      10           Rather than a “reorganization” purpose, Debtor Herbert Miller is instead demonstrating a
      11   “court shopping” effort and is seeking to obtain an injunction free of complying with the
      12   requirements of Federal Rule of Civil Procedure 65 or the state law equivalent. It appears that
      13   Debtor Herbert Miller having tried to, and failed, in litigating through the front doors of the state
      14   court and the district court, is attempting now to litigate in Federal Court through the side door of
      15   the Bankruptcy Court.
      16           At an earlier hearing in this case, the court “helpfully” discussed with the Parties a situation
      17   where there was a debtor-creditor dispute concerning a mortgage payment or a foreclosure, and the
      18   debtor was using the automatic stay to maintain the status quo while the dispute was either resolved
      19   consensually or adjudicated. These have been situations where this court has allowed a blocked
      20   account to be set up and the bankruptcy debtor to self-fund a bond, using the automatic stay in lieu
      21   of having to obtain a preliminary injunction in the related federal or state court lawsuit. Such has
      22   been in a case where there is an identified loan and the loan payment is made into the account as an
      23   adequate protection payment. 11 U.S.C. § 361. If there is a disagreement as to whether that is
      24   reasonable, the court has used the value of the property (generally an amount not in dispute between
      25   the bankruptcy debtor and creditor), created a 30-year amortization using an interest rate based on
      26   a 100% loan to equity ratio, and had that amount set aside. When the court has done that, either the
      27   bankruptcy debtor walks away, not wanting to “fund the bond” (manifesting an intent to litigate only
      28   for purposes of delaying the foreclosing creditor or purchaser at the foreclosure sale, and not having

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       1   a bona fide claim to assert) or an agreement is quickly reached between the creditor and debtor (the
       2   creditor realizing that there is a debtor who can, is, and will pay on the obligation).
       3          Here, Debtor Herbert Miller has proposed using such adequate protection payments. A
       4   review of both Motions for Adequate Protection (Dckts. 156, 161) show that Debtor Herbert Miller’s
       5   payments are not based on actual fair market value of the property but as explained in the Reply to
       6   the Motion for Adequate Protection (Dckt. 183; at 2:25-27) computed based on what he thinks the
       7   secured claim would be, and there can be no dispute because the creditors are “unknown.” These
       8   are on debts he has not paid for years, for which there appears to have been a decade of litigation,
       9   and for which the disputed foreclosure sales occurred two to three years prior to the commencement
      10   of Debtor Herbert Miller’s 2020 Case.
      11          In considering the extensive litigation experience of Debtor Herbert Miller and the continuing
      12   battles, the court is convinced that there can be no “bankruptcy adequate protection” fund in this
      13   situation where Debtor Herbert Miller adamantly states that the foreclosure deeds are void and the
      14   persons whose rights he is attacking have no interest in the property and no right to be paid.
      15          In the context of Debtor Herbert Miller’s litigation over the foreclosures, this court is further
      16   convinced that the Supreme Court has set the proper rules for whether a person’s asserted rights in
      17   real property should be enjoined in Federal Rule of Civil Procedure 65 and Federal Rule of
      18   Bankruptcy Procedure 7065. The automatic stay provisions of 11 U.S.C. § 362(a) created by
      19   Congress are to moderate the debtor-creditor relationship and protect property of the bankruptcy
      20   estate from further creditor action. The automatic stay is not a “for free” litigation injunction to
      21   override Federal Rule of Civil Procedure 65 under these circumstances.
      22          Debtor Herbert Miller has, can, and likely will continue to press his rights in the California
      23   Superior Court and the Eastern District of California District Court. However, doing so has nothing
      24   to do with any reorganization under Chapter 11. Debtor Herbert Miller has nothing to reorganize.
      25   He is only looking to create new businesses based on his financial acumen and future sweat equity.
      26   Chapter 11 is not a statutory scheme to “reorganize” future businesses.
      27          The court concludes that the use of 28 U.S.C. § 1334 for purposes of the non-bankruptcy
      28   litigation under the circumstances as Debtor Herbert Miller presents is an abuse of the federal

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       1   jurisdiction granted thereunder. The creation of federal court jurisdiction (based on the U.S.
       2   Constitution Article I, § 8, Clause 4 granting Congress the power to create a uniform national law)
       3   for cases arising under the Bankruptcy Code, arising in the bankruptcy case, and related to the
       4   bankruptcy case, is the exception to the normal limited federal jurisdiction found in Article III of the
       5   U.S. Constitution.
       6           Non-bankruptcy, non-federal law issues flood the bankruptcy courts because they arise in the
       7   bankruptcy case (such as claim objections) or relate to the bankruptcy case (determination of zoning
       8   ordinances, property rights, and the like). Such is a necessary and proper exercise of federal
       9   jurisdiction granted by Congress to make the Bankruptcy Code work for debtors and creditors.
      10   However, it is not a device or artifice to circumvent the U.S. Constitution and slip non-bankruptcy
      11   related matters into federal court.
      12           For Debtor Herbert Miller, there is no bankruptcy reorganization to take place, but only the
      13   litigation of the non-bankruptcy issues he desires to pursue over the alleged void foreclosure deeds.
      14           Further, Congress provides in 28 U.S.C. § 1334 that the federal court may abstain from
      15   exercising federal court jurisdiction from hearing a particular proceeding arising under title 11 (the
      16   Bankruptcy Code) or arising in or related to a case under title 11. 28 U.S.C. § 1334(c)(1). The
      17   adversary proceedings in which Debtor Herbert Miller seeks to have the foreclosure deeds
      18   determined void and assert other affirmative rights against the various defendants appear to be tailor
      19   made for the federal bankruptcy court judge (who is a judicial officer of the district court, 28 U.S.C.
      20   § 151) to abstain and allow Debtor Herbert Miller to take his fight to the California Superior Court
      21   or to the United States District Court, if some federal jurisdictional basis exists other than through
      22   the 28 U.S.C. § 1334 side door.17
      23   Conversion or Dismissal of Case
      24           As 11 U.S.C. § 1112(b)(1) provides, upon determining that cause exists, the court shall
      25   either dismiss or convert the case, “whichever is in the best interests of the creditors and the estate.”
      26   In the Motion, the U.S. Trustee requests that the case be dismissed. The Motion and Points and
      27
                   17
                      Congress provided in 28 U.S.C. § 1334(d) that a decision to abstain under § 1334(c)(1)
      28
           is not reviewable by appeal or otherwise.

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       1   Authorities do not flesh out the basis for dismissal rather than conversion. No supporting pleadings
       2   have been filed by any other parties in interest.
       3          The considerations taken into account in determining whether conversion or dismissal is in
       4   the best interests of the creditors and bankruptcy estate is discussed in Collier on Bankruptcy:
       5          If the parties disagree on conversion, dismissal or appointment of trustee or
                  examiner, the court should evaluate and choose the alternative that would be most
       6          advantageous to the parties and the estate as a whole. In doing so, the court may
                  consider such factors as
       7
                          (1) whether some creditors received preferential payments, and whether
       8                  equality of distribution would be better served by conversion rather than
                          dismissal,
       9
                          (2) whether there would be a loss of rights granted in the case if it were
      10                  dismissed rather than converted,
      11                  (3) whether the debtor would simply file a further case upon dismissal,
      12                  (4) the ability of the trustee in a chapter 7 case to reach assets for the benefit
                          of creditors,
      13
                          (5) in assessing the interest of the estate, whether conversion or dismissal of
      14                  the estate would maximize the estate’s value as an economic enterprise,
      15                  (6) whether any remaining issues would be better resolved outside the
                          bankruptcy forum,
      16
                          (7) whether the estate consists of a “single asset,”
      17
                          (8) whether the debtor had engaged in misconduct and whether creditors are
      18                  in need of a chapter 7 case to protect their interests,
      19                  (9) whether a plan has been confirmed and whether any property remains in
                          the estate to be administered and
      20
                          (10) whether the appointment of a trustee is desirable to supervise the estate
      21                  and address possible environmental and safety concerns.
      22          In addition, the court should make its decision with due regard to the effect of
                  dismissal under section 349.
      23
      24   7 Collier on Bankruptcy P 1112.04 (16th 2020), with the court restructuring the form of the
      25   paragraph to list the ten items therein separately for ease of reading.
      26          The court concludes that dismissal is in the best interests of the bankruptcy estate and
      27   creditors in that there appears to be no assets to be administered by a Chapter 7 trustee. There are
      28   no free assets (such as cash or property to be sold to generate cash) to fund the administration of the

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       1   bankruptcy estate. Debtor Herbert Miller has three, what appear to be, highly contested lawsuits
       2   challenging the validity of three foreclosure deeds. Debtor Herbert Miller appears to have been
       3   actively attempting to litigate those issues in state court, and federal court when removed thereto.
       4   While a Chapter 7 trustee could litigate, settle, or abandon such claims and property, he or she would
       5   not only be starting without assets for such litigation, but encumbered by the rulings and orders in
       6   various prior actions prosecuted by Debtor Herbert Miller.
       7          On Amended Schedule A/B, Debtor Herbert Miller does list other claims against third parties
       8   he states existed as of the commencement of the 2020 Case. Dckt. 79 at 21. These are identified
       9   as additional wrongful foreclosure cases relating to properties in Scottsdale, Arizona (2 such claims),
      10   and one in Cave Creek, Arizona. Again, a Chapter 7 trustee would begin “asset naked” to consider
      11   these multiple, multi-state listed claims to try and acquire some tangible assets.
      12          The court concludes that dismissal, rather than conversion, is in the best interest of the
      13   bankruptcy estate and creditors. With the dismissal, Debtor Herbert Miller is freed to not only
      14   pursue his new business ventures, but also whatever litigation he believes proper concerning his
      15   allegations of void foreclosure deeds and other claims, rather than all of those claims, rights, and
      16   interests being under the sole control of a Chapter 7 trustee. 11 U.S.C. § 704. Creditors will then
      17   have Debtor Herbert Miller generating projected substantial income from his new business
      18   venture(s), which would appear to have the potential (as projected) to generate monies to
      19   substantially pay his creditors to whom he is legally obligated.
      20          The Motion is granted and the Chapter 11 case is dismissed.
      21
                                         IMPOSITION OF BAR ON FILING
      22                                  ANOTHER BANKRUPTCY CASE
      23          The U.S. Trustee also requests that the court impose a one-year bar on Debtor Herbert Miller
      24   filing another bankruptcy case. One basis for such a bar is stated in 11 U.S.C. § 349(a), which
      25   provides (emphasis added):
      26          § 349. Effect of dismissal
      27          (a) Unless the court, for cause, orders otherwise, the dismissal of a case under this
                  title does not bar the discharge, in a later case under this title, of debts that were
      28          dischargeable in the case dismissed; nor does the dismissal of a case under this title

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       1           prejudice the debtor with regard to the filing of a subsequent petition under this
                   title, except as provided in section 109(g) of this title.18
       2
       3   The court cannot identify an "order" of this court that has not been complied with for purposes of
       4   imposing an 11 U.S.C. § 109(g) 180-day bar on filing a new case by Debtor Herbert Miller.
       5           This court has previously addressed the issue of imposing a bar on a debtor filing further
       6   cases for a specified period of time. The bankruptcy courts are established by an act of Congress and
       7   the All Writs Act, 28 U.S.C. § 1651(a), and 11 U.S.C. §105 provide the bankruptcy courts with the
       8   inherent power to enter pre-filing orders against vexatious litigants. Molski v. Evergreen Dynasty
       9   Corp, et al, 500 F.3d 1047 (9th Cir. 2007); Gooding v Reid, Murdock & Co., 177 F 684, (7th Cir
      10   1910), Weissman v. Quail Lodge Inc., 179 F.3d 1194, 1197 (9th Cir. 1999), and In re Bialac, 15 B.R.
      11   901, 9th Cir. B.A.P. 1981), affd 694 F.2d 625 (9th Cir. 1982). A court must be able to regulate and
      12   provide for the proper filing and prosecuting of proceedings before it. 11 U.S.C. §105(a) expressly
      13   grants the court the power to issue any order, process, or judgment that is necessary or appropriate
      14   to carry out the provisions of this title. Further, the court is authorized to sua sponte (in the case now
      15   before the court the U.S. Trustee has in this Motion requested the relief in the form of a bar on filing
      16   another bankruptcy case) take any action or make any determination necessary or appropriate to
      17   enforce or implement court orders or rules, or to prevent an abuse of process. This power exists, and
      18   it does not matter whether it is being exercised pursuant to 11 U.S.C. §105 or the inherent power of
      19   the court. In re Volpert, 110 F.3d 494, 500 (7th Cir. 2007); and Peugeot v. U.S. Trustee (In re
      20   Crayton), 192 B.R. 970, 976 (9th Cir. B.A.P. 1996).
      21           The Ninth Circuit Court of Appeals re-stated the grounds and methodology for pre-filing
      22
      23
                   18
                        11 U.S.C. § 109(g)(1) provides in pertinent part:
      24
                   (g) Notwithstanding any other provision of this section, no individual or family
      25
                   farmer may be a debtor under this title who has been a debtor in a case pending
      26           under this title at any time in the preceding 180 days if—

      27           (1) the case was dismissed by the court for willful failure of the debtor to abide by
                   orders of the court, or to appear before the court in proper prosecution of the case;
      28
                   ....

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       1   review requirements as an appropriate method for the federal courts in effectively managing serial
       2   filers or vexatious litigants. Molski v. Evergreen Dynasty Corp, et al, 500 F.3d 1047 (9th Cir. 2007),
       3   en banc hearing denied, 521 F.3d 1215 (9th Cir. 2008); and In re Fillbach, 223 F.3d 1089 (9th Cir.
       4   2000). While maintaining the free and open access to the courts, it is also necessary to have that
       5   access be properly utilized and not abused. The abusive filing of bankruptcy petitions, motions, and
       6   adversary proceedings for purposes other than as allowed by law diminishes the quality of and
       7   respect for the judicial system and laws of this country.
       8           As addressed by the Ninth Circuit Court of Appeals in Molski, the ordering of a pre-filing
       9   review requirement is not to be entered with undue haste because such orders can tread on a litigant's
      10   due process right of access to the courts. As discussed in Logan v. Zimmerman Brush Co., 455 U.S.
      11   422, 429, 102 S. Ct. 1148, 71 L. Ed. 2d 265 (1982), the right to seek redress from the court is a
      12   protected right of civil litigants. The issuing of a pre-filing order is to be made only after a cautious
      13   review of the pertinent circumstances.
      14           However, the Ninth Circuit Court of Appeals clearly draws the line that a person’s right to
      15   present claims and assert rights before the federal courts is not a license to abuse the judicial process
      16   and treat the courts merely as a tool to abuse others.
      17
                   Nevertheless, "[f]lagrant abuse of the judicial process cannot be tolerated because it
      18           enables one person to preempt the use of judicial time that properly could be used to
                   consider the meritorious claims of other litigants." De Long, 912 F.2d at 1148; see
      19           O'Loughlin v. Doe, 920 F.2d 614, 618 (9th Cir. 1990).
      20   Molski, 500 F.3d at 1057. In the Ninth Circuit the trial courts apply a four factor analysis in
      21   determining if and what type of pre-filing or other order should properly be issued based on the
      22   conduct of the party at issue.
      23
                   1.      First, the litigant must be given notice and a chance to be heard before the
      24                   order is entered.
      25           2.      Second, the district court must compile "an adequate record for review."
      26           3.      Third, the district court must make substantive findings about the frivolous
                           or harassing nature of the plaintiff's litigation.
      27
                   4.      Finally, the vexatious litigant order "must be narrowly tailored to closely fit
      28                   the specific vice encountered.”

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       1   Id.
       2          Here, the U.S. Trustee asserts that Debtor Herbert Miller has “acted egregiously and in bad
       3   faith.” Points & Authorities, p. 20:19-20; Dckt. 112. With respect to Debtor Herbert Miller’s filing
       4   and prosecution of bankruptcy cases, the grounds stated by the U.S. Trustee include:
       5
                  A.      This is Debtor Herbert Miller’s fourth “reorganization” case, with there not being a
       6                  confirmed plan in the prior three cases, all of which have been dismissed. Id., ¶¶ 19,
                          61.
       7
                  B.      Debtor Herbert Miller has demonstrated that bankruptcy is a “mere tool” to be used
       8                  in negotiations with mortgage holders. Id.
       9          C.      The valuable assets listed on the Schedules are the three properties for which Debtor
                          Herbert Miller asserts the foreclosure deeds are void and seeks to continue in such
      10                  litigation. Id., ¶¶ 27, 62.
      11          D.      Debtor Herbert Miller’s Schedules were grossly inaccurate (not disclosing his various
                          corporations, limited liability companies, and limited partnership interests). Id., ¶ 2.
      12                  (Amended Schedules and Statement of Financial Affairs were filed in this case.)
      13          E.      Debtor Herbert Miller’s Schedule J budget did not state realistic expenses, and did
                          not include amounts for rent, mortgage payments, property taxes, or insurance for the
      14                  real property he asserts he owns. Id., ¶ 15-17.
      15          F.      The present case has been filed in bad faith. Factors asserted by the U.S. Trustee
                          include: (1) inaccurate schedules, (2) this is Debtor Herbert Miller’s fourth
      16                  “reorganization” case since 2013, with the prior three dismissed; and (3) Debtor
                          Herbert Miller uses the filing of bankruptcy to “negotiate” and not to reorganize. Id.,
      17                  ¶¶ 55-56, 57, 61.
      18          Debtor Herbert Miller opposes this request, stating that “the UST has articulated a very
      19   distorted narrative of the action facts, and in at least one instance has made an outright false
      20   allegation of a ‘misrepresentation’ by Debtor [Herbert Miller]. . . .” Opposition, p. 5:21-22;
      21   Dckt. 126. Debtor Herbert Miller states that he is not a “serial filer,” and the present case is merely
      22   “an extension” of the two prior dismissed cases.
      23          With respect to the bankruptcy cases for various entities in which Debtor Herbert Miller has
      24   an interest, it is explained that they were being filed by “loose cannons” without Debtor Herbert
      25   Miller’s knowledge.
      26          In considering this issue, the court has the benefit of not only throughly reviewing what
      27   Debtor Herbert Miller says he wants to do, but see the actual “Plan” of what he intends to do. The
      28   court has, as addressed above, put that in the framework of Chapter 11 and the Bankruptcy Code.

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       1          At this juncture, the court notes that Debtor Herbert Miller’s attorney explained to the court
       2   at the final oral argument that the Chapter 11 Plan filed was not the “final version,” and such plans
       3   are always subject to amendment or modification to get to the “real plan terms.” The court agrees
       4   that the first Chapter 11 plan filed is not usually the first and final version (unless it is a “Pre-
       5   Packaged” Chapter 11 where the creditors and to-be debtor have written and “voted” on the plan in
       6   advance).
       7          However, even the first version of the Chapter 11 plan filed needs to be consistent with the
       8   law and provide colorable, confirmable (even if it is not anticipated that creditors will vote for it)
       9   terms. As the court addressed above, what Debtor Herbert Miller presented to the court was a “plan”
      10   by which Unknown Creditors would have their rights modified without notice or hearing. Further,
      11   that such Unknown Creditor with the lien on Debtor Henry Miller’s residence would have its rights
      12   modified notwithstanding the Bankruptcy Code prohibiting such modification, even if the creditor
      13   had notice and was a party to the bankruptcy case, without that creditor’s consent.
      14          Then, Debtor Herbert Miller seeks to “assume” almost $3,000,000.00 of debt, for which he
      15   affirmatively states he has no personal liability. Then, having “assumed” millions of dollars of this
      16   no personal liability debt for the Created Creditors, Debtor Herbert Miller seeks to divert post-
      17   petition plan payments to those Created Creditors. In diverting the money to the Created Creditors,
      18   he will then not pay in full his actual creditors, to which he is legally obligated to pay their claims.
      19   There is no basis for floating a Created Creditor plan in good faith.
      20          Further, there is nothing in the bankruptcy estate to reorganize. All of Debtor Herbert
      21   Miller’s prior business ventures are, in his words, defunct. He is launching out on new business
      22   ventures, but they are not based on any existing businesses or assets to be reorganized.
      23          What Debtor Herbert Miller has demonstrated is that the filing of this bankruptcy case was
      24   a mere canard to invoke federal court jurisdiction pursuant to 11 U.S.C. § 1334, slip in the side door
      25   to federal court, and then use the automatic stay instead of properly seeking a preliminary injunction
      26   to assert his contentions that the foreclosure deeds are void. While using federal court jurisdiction
      27   arising pursuant to 11 U.S.C. § 1334 is proper when the matter is related to a bankruptcy case, the
      28   bankruptcy case cannot exist solely to justify the side door access to federal court. There is no

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       1   reorganization to take place in the Chapter 11 case.
       2          The court is legitimately concerned that if this case is just dismissed, with no buffer, Debtor
       3   Herbert Miller will just yo-yo back into another bankruptcy case to try and avoid having to prosecute
       4   his claims relating to the alleged void foreclosure deeds in state court or district court (if a grounds
       5   for federal court jurisdiction exists). Such thoughtless filing of bankruptcy cases as a device to
       6   forum shop wastes a debtor’s valuable rights under the Bankruptcy Code.
       7          The court has weighed the options, ranging from just dismissing the current case, as it has
       8   done for the three prior cases, to imposing the one-year (or greater) bar on Debtor Herbert Miller
       9   filing a bankruptcy case as requested by the U.S. Trustee. Clearly, some limits need to be placed on
      10   Debtor Herbert Miller to prevent the abuse and attempted abuse of the bankruptcy court, federal
      11   court jurisdiction, bankruptcy laws, state court judgments, and third-parties.
      12          The court will not bar Debtor Herbert Miller from ever filing another bankruptcy case, but
      13   will impose the much more moderate requirement that he first obtain the pre-filing authorization
      14   from the chief judge in the bankruptcy district before commencing another bankruptcy case during
      15   the one hundred and eighty (180) day period following the dismissal of this case. The court selects
      16   a one hundred and eighty (180) day period after considering the filings, what has been presented in
      17   this case, and the “plan” with Created Creditors, Unknown Creditors whose rights are purported to
      18   be modified, and no reorganization of anything in the bankruptcy estate.
      19          A pre-filing review requirement is of little impact to a debtor seeking legitimate relief from
      20   the bankruptcy court. In this case, it will require the debtor to have the initial bankruptcy pleadings
      21   completed and on their face appear to be consistent with the requirements of the Bankruptcy Code
      22   and Chapter under which Debtor Herbert Miller seeks to file bankruptcy. Such should be simple in
      23   light of the Amended Schedules and Statement of Financial affairs in the current fourth bankruptcy
      24   “reorganization.” It imposes no significant cost or delay, in that the petition, schedules, and other
      25   basic pleadings need to be prepared at the time of filing.
      26          It is likely that Debtor Herbert Miller can have his plan drafted (if he desires to file a
      27   Chapter 11 case) and it can be presented as an exhibit in support of the motion for authorization to
      28   file the bankruptcy case during the one hundred eighty (180) day period. If a draft of the plan is not

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       1   available, Debtor Herbert Miller can provide a detailed summary of the plan terms. In addition, an
       2   explanation as to what actions will be taken to identify the creditors on these obligations that have
       3   been the subject of long standing, ongoing disputes.
       4          If filed in this District, the Application for Authorization to file a bankruptcy case within one
       5   hundred and eighty (180) day bar period shall be filed in this 2020 Case, with no reopening fee
       6   required to be paid. It shall be reviewed and ruled on by the current judge in the 2020 Case, who is
       7   continuing to serve as the Chief Bankruptcy Judge in this District during the one hundred eighty
       8   (180) day pre-filing review bar period.
       9          The court shall enter a separate order dismissing this case and imposing the one hundred
      10   eighty (180) day bar on filing another bankruptcy case and the pre-filing review requirement during
      11   that period.
      12           November ,16,
           Dated: November       2020
                              2020
      13
      14
                                                  RONALD H. SARGIS, Chief Judge
      15                                          United States Bankruptcy Court
      16
           End Notes
      17   1. In his Declaration, Debtor Herbert Miller testifies that with respect to the Hillside Holdings,
           Inc. bankruptcy case, “he may have” (apparently filed it). Declaration, ¶6, p. 2:25; Dckt. 127.
      18
           He states that as he recalls, the Hillside Holdings, Inc. bankruptcy case would have been filed to
      19   reorganize a condominium project in Las Vegas Nevada. Id. He believes that the case filed in
           California would have been quickly dismissed and the case refiled in Nevada. Id.
      20
                   A review of this court’s files, the only bankruptcy case filed for Hillside Holdings, Inc.
      21
           (or any entity with the words “Hillside Holdings” in its name) is Case No. 18-20298 above. A
      22   search using PACER of the files for the U.S. Bankruptcy Court for the District of Nevada reveals
           that there is no bankruptcy case of record for an entity with the words “Hillside Holdings” in its
      23   name. https://ecf.nvb.uscourts.gov/cgi-bin/iquery.pl?104066502821794-L_1_0-1.
      24
                   The California Secretary of State maintains a website at which persons can inquire about
      25   entities registered to do business in California. A search of that website for a corporation with
           the words “Hillside Holdings” in its name yields the information about: Hillside Holdings, Inc.,
      26   registered as a corporation in 2004, whose address is 7119 W Sunset Blvd #192, Los Angeles,
           California. https://businesssearch.sos.ca.gov/CBS/Detail.
      27
      28          Reviewing the information available on the Secretary of State website and the Corporate

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       1   Statements of Information available thereon does not include any information relating to a
           “Hillside Holdings, Inc.” with an address at 11155 Shadow Court, Auburn, California.
       2
       3           This information from the Secretary of State’s website is not evidence presented in
           connection with the motion and not considered by the court in its ruling. However, it is
       4   information that is relevant in connection with the filing of the Hillside Holdings, Inc.
           bankruptcy case in this court. If someone were filing a bankruptcy case for a non-existent
       5
           corporation, they might also be falsely appearing in court identifying themselves as “Herb
       6   Miller.”

       7          The person identifying himself as “Herb Miller” on the recording for the dismissal
           hearing in the Hillside Holdings, Inc. case filed in this court stated that the attorneys hired to
       8
           represent the corporate debtor was “Parker Stanbury” firm here in town. To the extent that
       9   somebody was misrepresenting himself to be “Herb Miller,” it is likely that the attorneys at
           Parker Stanbury could assist the U.S. Trustee in identifying such person.
      10
                  It causes the court concern that what appears to be a non-existent entity may have been
      11
           the “debtor” in the Hillside Holdings, Inc. case filed in this court. The court refers this
      12   information to the U.S. Trustee for such further review, investigation, and action as the U.S.
           Trustee or others at the Department of Justice deem appropriate. The court makes no referral for
      13   any specific action, but leaves such action, if any, as determined to be warranted to the U.S.
      14   Trustee and Department of Justice.

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                              Instructions to Clerk of Court
                                    Service List - Not Part of Order/Judgment

           The Clerk of Court is instructed to send the Order/Judgment or other court generated
           document transmitted herewith to the parties below. The Clerk of Court will send the document
           via the BNC or, if checked ____, via the U.S. mail.



            Debtor(s)                                      Attorney for the Debtor(s) (if any)



            Bankruptcy Trustee (if appointed in the        Office of the U.S. Trustee
            case)                                          Attn: Jason Blumberg, Esq.
                                                           Robert T. Matsui United States Courthouse
                                                           501 I Street, Room 7-500
                                                           Sacramento, CA 95814
            Attorney for the Trustee (if any)
